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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________________________ _

BLACK LOVE RESISTS IN THE RUST, et al.

                  Plaintiffs,
                                                       DEFENDANTS’ RULE 26(a) DISCLOSURES
                            -vs-
                                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

                  Defendants.
_________________________________________________________________


         Pursuant to Fed.R.Civ.P. 26(a)(1)(A), Defendants, by their undersigned attorney,

provide the following initial disclosure, upon information and belief:

         (i)      The name and, if known, the address and telephone number of each

individual likely to have discoverable information--along with the subjects of that

information--that the disclosing party may use to support its claims or defenses, unless

the use would be solely for impeachment.

         Response:         In addition to the named parties, it is possible that agents and/or

employees of the City of Buffalo including but not limited to those in the Buffalo Police

Department, Department of Citizen Services, and the City of Buffalo Traffic Violations

Agency, may possess discoverable information and/or may be used to support the

Defendants’ available defenses. Requests for such information can be made through

counsel, at the City of Buffalo Law Department, 1100 City Hall, 65 Niagara Sq., Buffalo,

New York 14202. The Law Department can be reached by telephone at (716) 851-4343.
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      It is possible that the Buffalo City Court, including its judges, agents, and

employees, may have relevant information regarding the criminal proceedings

referenced or implicated in Plaintiffs’ Complaint which may also form the basis for one

or more of the defenses in Defendants’ Answer. Upon information and belief, the

address for the Buffalo City Court is 50 Delaware Avenue, Buffalo, New York 14202.

Erie County Court and the Erie County District Attorney’s Office, through its judges,

prosecutors, agents, and employees may also have similar relevant information. Upon

information and belief, the address for the County Court building is 50 Delaware

Avenue, Buffalo New York, 14202. The Department of Motor Vehicles may also have

similar relevant information. Upon information and belief, their local office is located at

295 Main Street, Fourth Floor – Room 468, Buffalo New York 14203.

      It is also possible that employees or agents of the Buffalo Municipal Housing

Authority may have relevant information regarding general and specific criminal and

traffic activity and enforcement at and around their properties. Upon information and

belief, each may be maintained at the Buffalo Municipal Housing Authority offices,

which are located at 515 Clinton Street, Buffalo, New York 14204.

      It is also possible that employees or agents of the Erie County Central Police

Services may have relevant information regarding education and training as well as

investigation and prosecution of criminal proceedings. Upon information and belief,

each may be maintained at the Erie County Central Police Services Public Safety

Building, located at 45 Elm Street, Suite 1, in the City of Buffalo, New York 14203.

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        It is also possible that employees or agents of the Erie Community College may

have relevant information regarding education and training. Upon information and

belief, each may be maintained at the Erie Community College North Campus, which is

located at 6205 Main Street, Room B714B, in Williamsville, New York 14221


         (ii)   A copy--or a description by category and location--of all documents,

electronically stored information, and tangible things that the disclosing party has in its

possession, custody, or control and may use to support its claims or defenses, unless the

use would be solely for impeachment.

        Response:     The Defendants may use relevant documents, electronically stored

information, and tangible things to support its defenses in this matter. The categories of

documents and things may be used to support its claims and defenses include:

       Documents and things relating to the Police policies, practices, procedures, and

        law enforcement in the City of Buffalo. Upon information and belief, all such

        documents and things may be located in Buffalo City Hall and/or the Buffalo

        Police Headquarters.

       Documents and things relating to the traffic safety policies, practices, procedures,

        and enforcement in the City of Buffalo. Upon information and belief, all such

        documents and things may be located in Buffalo City Hall and/or the Buffalo

        Police Headquarters.




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    Documents and things relating to criminal activity and patterns in the City of

     Buffalo. Upon information and belief, all such documents and things may be

     located in Buffalo City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to traffic patterns and activity in the City of

     Buffalo. Upon information and belief, all such documents and things may be

     located in Buffalo City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to crime activity and patterns in and around

     Buffalo Municipal Housing Authority properties the City of Buffalo.       Upon

     information and belief, all such documents and things may be located in Buffalo

     City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to traffic patterns and activity in and around

     Buffalo Municipal Housing Authority properties in the City of Buffalo. Upon

     information and belief, all such documents and things may be located in Buffalo

     City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to traffic safety in the City of Buffalo. Upon

     information and belief, all such documents and things may be located in Buffalo

     City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to the traffic tickets adjudicated by the New York

     State Department of Motor Vehicles.        Upon information and belief, such




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     documents and things may be maintained in the Buffalo City Hall, the Buffalo

     Police Headquarters, and the New York State Department of Motor Vehicles.

    Documents and things relating to the creation and organization of the City of

     Buffalo Traffic Violations Agency. Upon information and belief, such documents

     and things may be maintained in the Buffalo City Hall, the Buffalo Police

     Headquarters, and the New York State Department of Motor Vehicles.

    Documents and things relating to the issuance of traffic tickets in the City of

     Buffalo.   Upon information and belief, such documents and things may be

     maintained in the Buffalo City Hall, the Buffalo Police Headquarters and the

     New York State Department of Motor Vehicles.

    Documents and things relating to traffic safety checkpoints in the City of Buffalo.

     Upon information and belief, such documents and things may be maintained in

     the Buffalo City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to the request for traffic safety checkpoints in the

     City of Buffalo. Upon information and belief, such documents and things may

     be maintained in the Buffalo City Hall and/or the Buffalo Police Headquarters.

    Documents and things relating to any citizen complaints of general and specific

     Police and traffic safety issues. Upon information and belief, copies of all records,

     documents, policies, and recordings relative to this litigation may be maintained

     at Buffalo City Hall and/or Buffalo Police Headquarters.



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    Documents and things relating to the criminal and traffic proceedings referenced

     or implicated in Plaintiffs’ Complaint. Upon information and belief, those

     documents may be kept at the Buffalo City Hall, Buffalo Police Headquarters,

     Buffalo City Court, Erie County Court, Erie County District Attorney’s Office,

     and the Department of Motor Vehicles.

    Documents and things relating to the Erie County Central Police Services’

     participation in any Police training or education, as well as in the investigation,

     enforcement, and prosecution for the violation of laws and regulations in the

     City of Buffalo. Upon information and belief, each may be maintained at the Erie

     County Central Police Services Public Safety Building.

    Documents and things relating to the Erie County Community College’s

     participation in any police training or education. Upon information and belief,

     each may be maintained at the Erie Community College’s North Campus.

    Documents and things relating to FOIL requests made by Plaintiffs or their

     Counsel, statements made to the media and in other public and private forums,

     as well as prior litigation concerning similar matters. Upon information and

     belief, each may be maintained in the Buffalo City Hall and/or the Buffalo Police

     Headquarters, as well as that which is publicly available and/or in Plaintiffs’ and

     their Counsels’ possession.




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       Documents and things relating to media reports from various media outlets

        concerning criminal activity in and around the City of Buffalo.

       Documents and things relating to studies from various groups concerning

        criminal activity in and around the City of Buffalo.

       Documents and things relating to Plaintiffs’ and potential class members’

        conduct, allegations, and admissions. Upon information and belief, in addition

        to the locations identified above, such records may be in Plaintiffs’ possession.

       Documents and things relating to Plaintiffs’ and potential class members’

        conduct, allegations, and admissions. Upon information and belief, in addition

        to the locations identified above, such records may be in Plaintiffs’ possession.


        (iii)   A computation of each category of damages claimed by the disclosing

party--who must also make available for inspection and copying as under Rule 34 the

documents or other evidentiary material, unless privileged or protected from

disclosure, on which each computation is based, including materials bearing on the

nature and extent of injuries suffered.

        Response:     Defendants do not claim any damages.


        (iv)    For inspection and copying as under Rule 34, any insurance agreement

under which an insurance business may be liable to satisfy all or part of a possible




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judgment in the action or to indemnify or reimburse for payments made to satisfy the

judgment.

       Response:      The City of Buffalo is self-insured. If the individuals named as

Defendants or other personnel employed by the City of Buffalo were acting within the

course and scope of their employment, the City of Buffalo would indemnify those

individuals for liability, if any liability so attaches, to the extent required by the

applicable provisions of law, contract, and/or bargaining agreement.


       Defendants reserve the right to supplement or correct this disclosure pursuant to

Fed.R.Civ.P. 26(e).


Dated: November 8, 2018
       Buffalo, New York

                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel
                                                Attorney for Defendants


                                                /s/ Robert E. Quinn
                                                By: Robert E. Quinn
                                                Assistant Corporation Counsel
                                                65 Niagara Square, 11th Floor
                                                Buffalo, New York 14202
                                                Tel.: (716) 851-4326
                                                rquinn@city-buffalo.com

To: Claudia Wilner, Esq.
   Attorney for the Plaintiffs
   1600 Liberty Building
   Buffalo, New York 14202


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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________________________ _

BLACK LOVE RESISTS IN THE RUST, et al.
                                                                      CERTIFICATE OF SERVICE
                  Plaintiffs,
                                                                      Civil Action No.: 18-cv-719
          -vs-

CITY OF BUFFALO, et al.

                  Defendants.
_________________________________________________________________


     I, Robert E. Quinn, hereby certify that on November 8, 2018, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                           Claudia Wilner, Esq.
            NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                      275 Seventh Avenue, Suite 1506
                           New York, NY 10001
                             wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: November 8, 2018
       Buffalo, New York
                                                                    TIMOTHY A. BALL, ESQ.
                                                                    Corporation Counsel
                                                                    Attorney for Defendants


                                                                    /s/ Robert E. Quinn
                                                                    By: Robert E. Quinn
                                                                    Assistant Corporation Counsel
                                                                    65 Niagara Square, 11th Floor
                                                                    Buffalo, New York 14202
                                                                    Tel.: (716) 851-4326
                                                                    rquinn@city-buffalo.com




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                    RESPONSES TO PLAINTIFFS’ FIRST
                                          SET OF REQUESTS FOR PRODUCTION TO
                     -vs-                   DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                             Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT CITY

OF BUFFALO, N.Y.” based on information available as of the date prescribed herein.


                               GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request.           These general objections may be

specifically referred to in response to a certain document request for the purpose of

clarity. However, the failure specifically to refer to a general objection is not and shall

not be construed to be a waiver of any general objection, even if other general objections

are specifically stated in response to a document request.

       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of
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litigation or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such

as the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law

§86, the New York Social Services Law, the Health Insurance Portability And

Accountability Act (HIPAA), and 18 NYCRR §357.1.

       3.     The City objects to each of the requests to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The City objects to each of the requests and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City object to these requests to the extent that they seek to

impose an obligation upon the defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.      The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time,

scope or subject, and call for unbounded discovery.

       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.



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       6.     The City objects to each of the document requests to the extent that

they   seek information       not   in the possession of the Defendants or their

agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for

discovery purposes but will provide a reasonable opportunity for appropriate viewing

in the presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these requests to the extent that they do not describe

the documents sought with reasonable particularity.

       12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.

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                     RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 1: All Documents and Communications relating to the creation

of the Strike Force, including but not limited to the reasons for or purposes of the

Strike Force’s creation, without limitation to time period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Manual of Procedures” attached hereto and will supplement this request

if and when additional documents or communications are located.


      REQUEST NO. 2: All Documents and Communications relating to the

purpose, mandate, goal, function, or mission of the Strike Force, without limitation to

time period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Manual of Procedures” attached hereto and will supplement this request

if and when additional documents or communications are located.



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      REQUEST NO. 3: All Documents and Communications relating to the creation

of the Housing Unit, including but not limited to the reasons for or purposes of the

Housing Unit’s creation, without limitation to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Agreement for Police Services Between the Buffalo Municipal Housing

Authority and the City of Buffalo” as well as the “Manual of Procedures” attached

hereto and will supplement this request if and when additional documents or

communications are located.


      REQUEST NO. 4: All Documents and Communications relating to the

purpose, mandate, goal, function, or mission of the Housing Unit, without limitation

to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Agreement for Police Services Between the Buffalo Municipal Housing

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Authority and the City of Buffalo” as well as the “Manual of Procedures” section

attached hereto and will supplement this request if and when additional documents or

communications are located.


      REQUEST NO. 5: All Documents and Communications relating to the creation

of the Buffalo Traffic Violation Agency (BTVA) without limitation to time period,

including but not limited to the reasons for or purposes of the BTVA’s creation.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “City of Buffalo Traffic Violations Agency Annual Report 2017” attached

hereto and will supplement this request if and when additional documents or

communications are located.


      REQUEST NO. 6: All Documents and Communications relating to the

purpose, mandate, goal, function, or mission of the BTVA, including but not limited

to BTVA annual reports, without limitation to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

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      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “City of Buffalo Traffic Violations Agency Annual Report 2017” attached

hereto and will supplement this request if and when additional documents or

communications are located.


      REQUEST NO. 7: All Documents and Communications relating to the BPD’s

decision to establish or conduct Checkpoints, without limitation to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.


      REQUEST NO. 8: All Documents and Communications relating to the BPD’s

decision to end the Strike Force.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.




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      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


      REQUEST NO. 9: All Documents and Communications consulted or reviewed

by the BPD in order to determine the physical location of each Checkpoint or group

of Checkpoints, including any Documents and Communications referring or relating

to strategy or other considerations in determining Checkpoint location.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.


      REQUEST NO. 10: All BPD Housing Unit Monthly and Weekly Statistics

Reports.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement




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privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is

aware of the attached “Buffalo Police Department Housing Statistics Reports”, redacted

in accordance with the raised objections, and will supplement this request if and when

additional documents or communications are located.


       REQUEST NO. 11: All BPD Housing Unit Daily Reports, including but not

limited to Daily Statistical Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


       REQUEST NO. 12: All BPD Strike Force Monthly and Weekly Statistics

Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

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privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


       REQUEST NO. 13: All BPD Strike Force Unit Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


       REQUEST NO. 14: All BPD Division of Traffic Enforcement Monthly and

Weekly Statistics Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

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       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


       REQUEST NO. 15: All BPD Division of Traffic Enforcement Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


       REQUEST NO. 16: All Documents and Communications containing statistical,

demographic, or other information regarding the operation of Checkpoints by any

part of the BPD, to the extent not already responsive to Requests 10 through 15.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.




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      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


      REQUEST NO. 17: All completed BPD Roadblock Directives.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Buffalo Police Department Roadblock Directive(s)” attached hereto and

will supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 18: All completed Traffic Safety Checkpoint Tally Sheets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Traffic Safety Checkpoint Tally Sheet(s)” attached hereto and will

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supplement this request if and when additional documents or communications are

located.

       REQUEST NO. 19: All other completed directives, tally sheets, and/or similar

Documents and Communications discussing the date, time, location, and/or results of

Checkpoints carried out by the BPD, to the extent not already responsive to Requests

17 and 18.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.


       REQUEST NO. 20: For each officer assigned to the Housing Unit, all activity

reports and other Documents and Communications completed by Housing Unit

Officers to record their enforcement activity (tickets, arrests, traffic stops) on a daily,

weekly, monthly, quarterly, and annual basis.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and



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seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 21: For each officer assigned to the Strike Force, all activity

reports and other Documents and Communications completed by Strike Force

Officers to document their enforcement activity (tickets, arrests, traffic stops) on a

daily, weekly, monthly, quarterly, and annual basis.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 22: All Documents and Communications concerning the

procedures, information, and criteria used to evaluate the performance of Housing

Unit and Strike Force officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.




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         RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Manual of Procedures” and the “Buffalo Police Department’s Rules &

Regulations”, which are attached hereto and will supplement this request if and when

additional documents or communications are located.


         REQUEST NO. 23: For each officer assigned to the Housing Unit and/or Strike

Force, copies of all monthly, quarterly and annual performance evaluations of that

officer conducted while he or she was assigned to the Housing Unit and/or Strike

Force.

         OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.

         RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is not aware of any

responsive documents or communications at this time.


         REQUEST NO. 24: Electronic or computerized data compilations sufficient to

show for each Checkpoint conducted by the BPD:

               a.    The number of license plates checked, by an automated license

                     plate reader or otherwise, at the Checkpoint;

               b.    The unit or division within BPD that conducted the Checkpoint;


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        c.   The date, time, duration and Location of the Checkpoint;

        d.   The number of Persons selected for a secondary stop at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        e.   The number of Persons who received a Traffic Ticket at the

             Checkpoint, the number of tickets each such Person received, and

             the race, ethnicity, national origin, and any other demographic

             data recorded for each such Person;

        f.   The number of firearms confiscated at the Checkpoint and the

             race, ethnicity, national origin, and any other demographic data

             recorded for each such Person;

        g.   The number of Persons arrested for a traffic misdemeanor at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        h.   The number of Persons arrested for a non-traffic misdemeanor at

             the Checkpoint and the race, ethnicity, national origin, and any

             other demographic data recorded for each such Person;

        i.   The number of Persons arrested for a felony at the Checkpoint

             and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        j.   The number of vehicles towed following a stop at the

             Checkpoint, the reason for towing the vehicle, and the race,



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                    ethnicity, national origin, and any other demographic data

                    recorded for the driver of each such vehicle;

             k.     The number of vehicles impounded following a stop at the

                    Checkpoint, the reason for impoundment, and the race, ethnicity,

                    national origin, and any other demographic data recorded for the

                    driver of each such vehicle;

             l.     The number of vehicles released from impound following a stop

                    at the Checkpoint and the race, ethnicity, national origin, and any

                    other demographic data recorded for each Person whose vehicle

                    was released following a stop at the Checkpoint; and

             m.     The number of vehicles auctioned following a stop at the

                    Checkpoint and the race, ethnicity, national origin, and any other

                    demographic data recorded for each Person whose vehicle was

                    auctioned following a stop at the Checkpoint.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.

The City is aware of the “Traffic Safety Checkpoint Tally Sheet(s)” attached hereto and


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will supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 25: Electronic or computerized data compilations sufficient to

show for each and every Traffic Ticket issued and/or traffic-related arrest:

           a. The identity of the person(s) stopped, ticketed or arrested (names may

              be anonymized but stops, tickets, and arrests must be traceable at the

              individual level);

           b. The identity of the officer issuing the ticket or arrest (Name, Unit, and

              Badge Number);

           c. The date, time, and Location of the stop giving rise to the ticket or

              arrest;

           d. Whether the stop occurred at a Checkpoint;

           e. The race of the person(s) stopped, ticketed, or arrested;

           f. The gender of the person(s) stopped, ticketed, or arrested;

           g. The age of the person(s) stopped, ticketed, or arrested;

           h. All VTL and/or City of Buffalo Municipal Code violations for which the

              person was ticketed and/or arrested;

           i. All misdemeanor, traffic misdemeanor, and felony arrests made as a

              result of the stop, including the specific provision(s) forming the basis

              for the arrest;

           j. All weapons seized as a result of the stop, including the nature of the

              weapon;

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          k. The total amount of cash seized as a result of the stop;

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.


      REQUEST NO. 26: Copies of all Traffic Tickets issued by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information which may be sealed and/or subject to confidentiality or other

privacy concerns.


      REQUEST NO. 27:         All Documents and Communications relating to any

reports, notes, memoranda, files, data sets, databases, or other paper or electronic

mechanisms used by You to record, transmit, maintain, tabulate, aggregate, analyze,

and/or review information relating to any Checkpoint conducted by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.

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      RESPONSE: Without waiving any general or specific objections, the City is

aware of the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.


      REQUEST NO. 28: All Documents and Communications relating to any

reports, notes, memoranda, files, data sets, databases, or other paper or electronic

mechanisms used by You to record, transmit, maintain, tabulate, aggregate, analyze,

and/or review information relating to Traffic Tickets issued and/or misdemeanor

and/or felony traffic arrests made by BPD officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 29: All Documents and Communications showing the dates,

times, offense categories and Locations of all reported crimes in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

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      REQUEST NO. 30: All Documents and Communications showing the dates,

times and Locations of all traffic accidents that occurred in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 31: All Documents and Communications relating to the time

individuals waited during Checkpoints (“wait times”), average wait times, and/or or

other measures of individual or aggregate waiting times, for Persons driving through

a Checkpoint established by the Strike Force or Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 32:         All Documents and Communications relating to the

average wait times, or other measures of individual or aggregate waiting times, for



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Persons pulled over for a secondary stop at a Checkpoint established by the Strike

Force or Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 33: All Documents and Communications relating to BPD’s use

of computer software and/or technology to issue traffic tickets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 34: All Documents and Communications relating to the

academic study by Andrew P. Wheeler and Scott W. Phillips referenced at paragraph




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56 and n.7 of the Complaint, including all communications, data, and Documents and

Communications shared with the study authors and/or their staff and interns.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 35: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to Checkpoints,

including but not limited to, deciding where and when to conduct a Checkpoint,

conducting initial and secondary stops, performing searches, issuing Traffic Tickets,

making misdemeanor and felony arrests, and/or towing or impounding cars at

Checkpoints.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.




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      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is aware of the “Manual of Procedures”

and the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.


      REQUEST NO. 36: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to enforcing the

Vehicle and Traffic Law, including but not limited to conducting traffic stops,

performing searches of vehicles, issuing Traffic Tickets, making misdemeanor and

felony arrests following traffic stops, and/or towing or impounding vehicles

following traffic stops.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is aware of the “Manual of Procedures”

and the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo Police Department

Roadblock Directive(s)” attached hereto and will supplement this request if and when

additional documents or communications are located.



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      REQUEST NO. 37: All Documents and Communications relating to BPD

policies, practices, directives, forms, guidelines, standards, rules, regulations, orders,

training materials or instructions relating to the use of Automatic License Plate

Readers and storage of ALPR data.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 38: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to compliance with the

Fourth and Fourteenth Amendment of the United States Constitution, including the

rights to due process and equal protection.

      OBJECTION: The City objects to this request insofar as it is argumentative,

overly broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.




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      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is aware of all of the

documents attached hereto as well as those possibly in the possession of the Police

Academy at the Police Training Academy operated by Erie County’s Central Police

Services at Erie Community College North Campus, which may be responsive to this

request, and will supplement this request if and when additional documents or

communications are located.


      REQUEST NO. 39: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to racial profiling,

biased policing, and/or the use of race in law enforcement decision-making.

      OBJECTION: The City objects to this request insofar as it is argumentative,

overly broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is aware of all of the

documents attached hereto as well as those possibly in the possession of the Police

Academy at the Police Training Academy operated by Erie County’s Central Police

Services at Erie Community College North Campus, which may be responsive to this




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request, and will supplement this request if and when additional documents or

communications are located.


       REQUEST NO. 40: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to supervisory review

of the traffic enforcement activities, including, but not limited to, Checkpoints,

traffic stops, traffic tickets, and traffic misdemeanor arrests, conducted by BPD

officers.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, at this time, the City is aware of all of the

documents attached hereto as well as those possibly in the possession of the Police

Academy at the Police Training Academy operated by Erie County’s Central Police

Services at Erie Community College North Campus, which may be responsive to this

request, and will supplement this request if and when additional documents or

communications are located.




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      REQUEST NO. 41: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about any Checkpoint established by the Strike Force or Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents at this time.


      REQUEST NO. 42: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

related to alleged racial profiling, bias or discrimination by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.




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       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


       REQUEST NO. 43: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally on in writing

related to BPD traffic stops, traffic ticketing, and/or other traffic enforcement

practices.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


       REQUEST NO. 44: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about traffic safety, including but not limited to requests from the public for

increased traffic enforcement.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and


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seeks information protected by Civil Rights Law §50-a, the deliberative process

privilege, the law enforcement privilege, the attorney-client privilege, and/or attorney

work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 45: All Documents and Communications relating to any

analysis, evaluation, review, recording, or study of Checkpoints, including the race,

ethnicity, national origin or other demographic data of individuals who drove

through and/or were stopped at Checkpoints and the extent to which such

Checkpoints enhanced or detracted from traffic safety.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 46: All Documents and Communications relating to the

September 18, 2018 report provided by the Buffalo Police Advisory Board to the

Buffalo Common Council Police Oversight Committee.


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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege. The City also objects that the term “report” is vague, subject to

multiple meetings, and does not describe the documents sought with reasonable

particularity.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is not aware of any responsive

documents or communications at this time.


       REQUEST NO. 47: Documents and Communications sufficient to show all

federal financial assistance received by the Buffalo Police Department.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.


       REQUEST NO. 48: All Documents and Communications concerning the

defenses    asserted   in    Defendants’     Answer,     including    Documents      and

Communications that support or refute the defenses.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and




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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.


        REQUEST NO. 49: All Documents identified in response to Plaintiff Black

Love Resists’ First Set of Interrogatories to Defendant City of Buffalo, N.Y.

        OBJECTION: The City objects to this request insofar as it is requests documents

not in the custody or control of the City.

        RESPONSE: Without waiving any general or specific objections and to the

extent that the request is understood, the City is aware of the attached documents and

communications at this time.


Dated: December 5, 2018
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us


TO:     NCLEJ
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        275 Seventh Avenue, Suite 1506
        New York, NY 10001
        wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

     I, Robert E. Quinn, hereby certify that on December 5, 2018, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: December 5, 2018
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                          RESPONSES TO PLAINTIFFS’
                                              FIRST SET OF INTERROGATORIES TO
                     -vs-                      DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                               Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

Plaintiffs’ “FIRST SET OF INTERROGATORIES TO DEFENDANT CITY OF BUFFALO,

N.Y.”, based on information available as of the date prescribed herein:


                               GENERAL OBJECTIONS

       1.     The City responds to each and every interrogatory subject to the general

obligations set forth herein. These objections form a part of the response to each and

every interrogatory and are set forth here to avoid duplication by restating them for

each interrogatory and document request. These general objections may be specifically

referred to in response to a certain interrogatory and document request for purpose of

clarity. However, the failure to specifically refer to a general objection is not and shall

not be construed to be a waiver of any general objection, even if other general objections

are specifically stated in response to an interrogatory and document request.

       2.     The City objects to each of the interrogatories to the extent that they seek

information and documents that seek materials prepared in anticipation of litigation or
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are subject to the attorney-client privilege, attorney work product doctrine, deliberative

process privilege, law enforcement privilege, prosecutorial privilege, or any other

applicable privilege, including but not limited to those set forth by statutes such as the

New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.   The City objects to each of the interrogatories to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The City objects to each of the interrogatories and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these interrogatories to the extent that they seek

to impose an obligation upon the defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.    The City objects to each of the interrogatories as being vague, ambiguous,

overly broad; unduly, burdensome, oppressive, unlimited in time, scope or subject, and

calling for unbounded discovery.

       5.     The City objects to each of the interrogatories to the extent that they are

not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.



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          6.    The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of information

and/or documents provided hereby in any proceeding or trial of this or any other

action.

          7.    The City objects to the interrogatories insofar as they are argumentative

and/or state or imply contested facts, circumstances, legal conclusions, and/or issues.

The City’s responses to these interrogatories shall not constitute any admission of any

fact, issue, and/or legal conclusion.

          8.    The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for

discovery purposes but will provide a reasonable opportunity for appropriate viewing

in the presence of all parties.

          9.    The City expressly reserves the right to amend, supplement and/or

correct the following interrogatory responses as appropriate.

          10.   The City expressly reserves, and does not waive their right to seek

appropriate relief pursuant to FRCP 26 and 33 and any other applicable law with

respect to these interrogatories.

          11.   The City objects to these interrogatories to the extent that they do not

describe the documents or information sought with reasonable particularity.

          12.   The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.



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                          INTERROGATORY RESPONSES

       INTERROGATORY NO. 1: Identify each Person who has worked as part of

the Strike Force or Housing Unit and provide his or her Employment History at the

BPD.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence. The City also objects to this interrogatory to the extent that the phrase

“worked as part of” is vague and ambiguous. The City additionally objects to this

interrogatory in that it seeks irrelevant, personal, and confidential information not

subject to disclosure in this civil action.       The City specifically objects to the term

“Employment History”, as its defined the Plaintiffs’ Interrogatories as overly broad and

potentially seeking information and materials protected by Civil Rights Law §50-a.

       RESPONSE: Without waiving these objections, upon information and belief, the

Buffalo Police Department’s strike force was generally made up of approximately 20

police officers and the housing unit made up of approximately 18 police officers with

some changes over the period identified. Upon information and belief, the named

Defendants, Aaron Young, Phillip Serafini, Kevin Brinkworth, and Robbin Thomas held

positions with the Strike Force and/or Housing Unit during the time period identified.


       INTERROGATORY NO. 2: Identify each Person who signed a Traffic Safety

Checkpoint Tally Sheet or Buffalo Police Department Roadblock Directive.



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       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant information not subject to disclosure in this civil action.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, the City refers to the “Traffic Safety Checkpoint

Tally Sheet(s)” and “Buffalo Police Department Roadblock Directive(s)” provided in

response to “PLAINTIFFS’ FIRST REQUEST FOR THE PRODUCTION TO THE

DEFENDANT CITY OF BUFFALO” for its response to this interrogatory.


       INTERROGATORY NO. 3: Identify each Person involved in the drafting

and/or approval of the directive on Checkpoints referenced in paragraph 38 of the

Complaint and your Answer.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant information not subject to disclosure in this civil action.

The City also objects to the phrase “involved in the drafting and/or approval of the

directive on Checkpoints” as vague, ambiguous and subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the interrogatory is understood, the named Defendants may have been

involved in the drafting and/or approval of the referenced “directive” along with those

individuals identified in the “Traffic Safety Checkpoint Tally Sheet(s)” and “Buffalo

Police Department Roadblock Directive(s)” provided in response to “PLAINTIFFS’


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FIRST REQUEST FOR THE PRODUCTION TO THE DEFENDANT CITY OF

BUFFALO”, which are incorporated herein as part of the City’s response to this

interrogatory.


       INTERROGATORY NO. 4: For each Checkpoint responsive to Plaintiffs’ First

Set of Requests for Production of Documents 17-19, please Identify the Person(s) who

determined the Location of the Checkpoint; all data, material, or other information

consulted in connection with determining the location of the Checkpoint; and all

BPD officers who worked at the Checkpoint.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks information subject to the law enforcement privilege. The City also

objects to the extent that the phrase “all date, material, or other information consulted in

connection with determining the location of the Checkpoint” is vague, ambiguous and

subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, the locations may have been chosen by the named

Defendants and/or the individuals identified in the “Traffic Safety Checkpoint Tally

Sheet(s)” and “Buffalo Police Department Roadblock Directive(s)” provided in response

to “PLAINTIFFS’ FIRST REQUEST FOR THE PRODUCTION TO THE DEFENDANT

CITY OF BUFFALO”, incorporated herein as part of the City’s response to this

interrogatory. Upon information and belief, the locations are generally based on a non-



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exclusive combination of Police Department observations, familiarity with traffic

patterns, citizen complaints, and other information regarding traffic safety and motor

vehicle accidents, all of which are analyzed to determine the chosen checkpoint

locations. Factors such as proximity to manpower, ease of transport and travel, and

concerns over officer safety, may also play a role in evaluating a particular location.

There are occasions when locations are used more than once based on prior experiences

at that location. At this time, the City is aware of the named Defendants, who may be

responsive to this demand.


       INTERROGATORY NO. 5: Identify by name and version number all

electronic software and hardware used by You to issue traffic violations or

infractions.

       OBJECTION: The City objects to the extent that the interrogatory is vague,

ambiguous, subject to multiple interpretations, and potentially seeking information

which is proprietary in nature.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, upon information and belief, traffic violations and

infractions are generally issued through the New York State Traffic and Criminal

Software (“TraCS”) application software. Upon information and belief, handwritten

form paper tickets are also occasionally issued for traffic violations and infractions.


       INTERROGATORY NO. 6: Identify all paper and electronic file locations

within the City of Buffalo, including but not limited to the BPD and the Buffalo

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Traffic Violations Agency, where information from Uniform Traffic Tickets is stored,

and for each file location, identify the format in which the information is kept,

including without limitation all information required by Interrogatory 9.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant, personal, and proprietary information not subject to

disclosure in this civil action. The City also objects to the extent that the phrase “where

information from Uniform Traffic Tickets is stored” is vague, ambiguous and subject to

multiple interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, upon information and belief, such information

may be stored in the offices of the Buffalo Police Department and Buffalo Traffic

Violations Agency. Information may be contained within papers files and databases

including the Courtroom Program case management software, as well as commonly

used word processing and spreadsheet programs at the Buffalo Traffic Violations

Agency.    Information may also be contained within New York State’s TraCS, the

Department of Motor Vehicles and Office of Court Adminstration’s databases and files,

was well as the databases and files of the local court system(s).


       INTERROGATORY NO. 7: Identify all mechanisms by which BPD transmits

information concerning traffic violations or infractions to and from the Buffalo

Traffic Violations Agency.



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       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant, personal, and proprietary information not subject to

disclosure in this civil action. The City also objects to the extent that the phrase “all

mechanisms by which BPD transmits information concerning traffic violations or

infractions to and from the Buffalo Traffic Violations Agency” is vague, ambiguous and

subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections, the majority of

Uniform Traffic tickets are transmitted electronically via the TraCS. The ticket

information is then transmitted to the New York State Department of Motor Vehicle’s

Traffic Safety Law Enforcement and Disposition (“TSLE&D”) system, then distributed

to the Buffalo Traffic Violations Agency through the New York State Office of Court

Administration (“OCA”). In instances where handwritten paper tickets are issued, a

hand-written ticket is completed in duplicate form, the conformed copy is issued to the

defendant-motorist and the original ticket is filed with the Court.


       INTERROGATORY NO. 8: Describe in detail all training materials and

programs, both formal and informal, that You provided or provide to Your officers

concerning: the operation of Checkpoints; the enforcement of the New York Vehicle

and Traffic Law, including, but not limited to, the issuance of traffic violations or

infractions, misdemeanor or felony traffic arrests, and towing and/or impoundment

of vehicles; how to conduct Checkpoints and/or enforce traffic laws in compliance



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with the Fourth and Fourteenth Amendments to the United States Constitution; racial

profiling, biased policing, and/or the use of race in law enforcement decision-

making; and the use of the electronic software and hardware referenced in response

to Interrogatory 5. This should include, but not be limited to, a description of the

training materials and programs, the dates on which they have been provided, the

frequency with which they are provided, the Persons who provide them, the Persons

who receive them, the Persons who decide their contents, any changes made to them

over time, including when those changes were made, and an identification of all

Documents used for any training.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant, personal, and proprietary information not subject to

disclosure in this civil action. The City also objects to the extent that the interrogatory is

vague, ambiguous and subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, Buffalo Police Officers are generally trained at the

Police Training Academy operated by Erie County’s Central Police Services at Erie

Community College North Campus. Upon information and belief, the director of that

Academy is Edward Hempling and the courses are taught by individuals working for

him including, but not limited to practicing attorneys, who may provide training as

described. Buffalo Police Officers are also provided with the Buffalo Police

Department’s Manual of Procedures, which may be responsive to this interrogatory.


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Following the Police Academy, Officer’s receive training from other officers including

but not limited to senior officers in their district, supervising members of the Buffalo

Police Department administration, and an assigned Field Training Officer. Buffalo

Police Officers receive periodic formal training after the Police Academy which may

also be responsive to this interrogatory. Informal training is also provided on the job

through other police officers, the regular practice of normal law enforcement activities,

and interactions with prosecuting attorneys and the local Court System(s). The Buffalo

Police Department Checkpoint “Directive” forms, as well as on site supervision and

guidance from other officers, may also be responsive to this interrogatory.


      INTERROGATORY NO. 9: For each electronic database identified in your

answers to these Interrogatories or provided in response to any Request for

Production, provide the name of the database; a description of its contents; the name

of the company that manufactured the database software; the period of time in which

the database was or has been in use; lists of the tables contained within that

database, the fields within each table, and the associational relationships linking

such tables and fields, and Identify any user’s manual or other Document describing

the use and operation of the database along with the Person(s) most knowledgeable

as to the operation of the database.

      OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant, personal, and proprietary information not subject to



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disclosure in this civil action. The City also objects to the extent that the interrogatory is

vague, ambiguous and subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections and to the

extent that the interrogatory is understood, the City is aware of the New York State

TraCS and TSLE&D databases which, upon information and belief, were manufactured

by New York State and are used by various members of the Buffalo Police Department

and Buffalo Traffic Violations Agency. Upon information and belief, any commonly

used word processing and spreadsheets would be manufactured by Microsoft. Upon

information and belief, The Courtroom Program was manufactured and/or operated by

the New York State Unified Court System and/or Service Education, Inc. (“SEi”). The

City is unaware of when the above referenced databases were specifically created and,

upon information and belief, cannot provide which “version” was used due to the

extent of the request. At this time, the City is aware of the named Defendants, who may

be responsive to this demand.


       INTERROGATORY NO. 10: Identify each Person, by name and title, from

whom factual information was sought in preparing the answers to these

Interrogatories and/or who provided materials produced in response to Plaintiffs’

First Set of Requests for Production to Defendant City of Buffalo, N.Y..

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, and may seek information protected by the attorney-client




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privilege. The City also objects to the extent that the interrogatory is vague, ambiguous

and subject to multiple interpretations.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, the Objections are raised and asserted by Robert E.

Quinn, and the information contained in the Reponses are provided by the named

Defendants as well as those individuals identified in the documents submitted in

response to the “PLAINTIFFS’ FIRST REQUEST FOR THE PRODUCTION TO THE

DEFENDANT CITY OF BUFFALO”.



Dated: December 5, 2018
       Buffalo, New York

                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel



                                                /s/Robert E. Quinn
                                                By: Robert E. Quinn
                                                65 Niagara Square - 1103 City Hall
                                                Buffalo, NY 14202
                                                Tel.: (716) 851-4326
                                                rquinn@ch.ci.buffalo.ny.us


TO:     NCLEJ
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        New York, NY 10001
        wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

     I, Robert E. Quinn, hereby certify that on December 5, 2018, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: December 5, 2018
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.
                                                      FIRST SUPPLEMENTAL
              Plaintiffs,                          RESPONSES TO PLAINTIFFS’
                                               FIRST SET OF INTERROGATORIES TO
                     -vs-                       DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                                Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant,    CITY   OF    BUFFALO      (“City”),   offers   the    following   FIRST

SUPPLEMENTAL RESPONSE to Plaintiffs’ “FIRST SET OF INTERROGATORIES TO

DEFENDANT CITY OF BUFFALO, N.Y.”, incorporating by reference all prior responses

and objections thereto, based on information available as of the date prescribed herein:


                                GENERAL OBJECTIONS

       1.     The City responds to each and every interrogatory subject to the general

obligations set forth herein. These objections form a part of the response to each and every

interrogatory and are set forth here to avoid duplication by restating them for each

interrogatory and document request. These general objections may be specifically

referred to in response to a certain interrogatory and document request for purpose of

clarity. However, the failure to specifically refer to a general objection is not and shall

not be construed to be a waiver of any general objection, even if other general objections

are specifically stated in response to an interrogatory and document request.
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       2.     The City objects to each of the interrogatories to the extent that they seek

information and documents that seek materials prepared in anticipation of litigation or

are subject to the attorney-client privilege, attorney work product doctrine, deliberative

process privilege, law enforcement privilege, prosecutorial privilege, or any other

applicable privilege, including but not limited to those set forth by statutes such as the

New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86, the

New York Social Services Law, the Health Insurance Portability And Accountability Act

(HIPAA), and 18 NYCRR §357.1.

       3.   The City objects to each of the interrogatories to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The City objects to each of the interrogatories and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these interrogatories to the extent that they seek

to impose an obligation upon the defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.    The City objects to each of the interrogatories as being vague, ambiguous,

overly broad; unduly, burdensome, oppressive, unlimited in time, scope or subject, and

calling for unbounded discovery.




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       5.     The City objects to each of the interrogatories to the extent that they are not

reasonably calculated to lead to the discovery of admissible evidence or seek information

material and necessary to the prosecution or defense of this action.

       6.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of information

and/or documents provided hereby in any proceeding or trial of this or any other action.

       7.     The City objects to the interrogatories insofar as they are argumentative

and/or state or imply contested facts, circumstances, legal conclusions, and/or issues.

The City’s responses to these interrogatories shall not constitute any admission of any

fact, issue, and/or legal conclusion.

       8.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       9.     The City expressly reserves the right to amend, supplement and/or correct

the following interrogatory responses as appropriate.

       10.    The City expressly reserves, and does not waive their right to seek

appropriate relief pursuant to FRCP 26 and 33 and any other applicable law with respect

to these interrogatories.

       11.    The City objects to these interrogatories to the extent that they do not

describe the documents or information sought with reasonable particularity.



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       12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.


             FIRST SUPPLEMENTAL INTERROGATORY RESPONSES

       INTERROGATORY NO. 1: Identify each Person who has worked as part of the

Strike Force or Housing Unit and provide his or her Employment History at the BPD.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence. The City also objects to this interrogatory to the extent that the phrase “worked

as part of” is vague and ambiguous. The City additionally objects to this interrogatory

in that it seeks irrelevant, personal, and confidential information not subject to disclosure

in this civil action. The City specifically objects to the term “Employment History”, as its

defined the Plaintiffs’ Interrogatories as overly broad and potentially seeking information

and materials protected by Civil Rights Law §50-a.

       RESPONSE: Without waiving these objections, upon information and belief, the

Buffalo Police Department’s Strike Force was generally made up of approximately 20

police officers and the Housing Unit made up of approximately 18 police officers with

some changes in personnel over the period identified. Officers in the Strike Force and

Housing Unit held positions as Captain (“Capt.”), Lieutenant (“Lt.”), and Police Officer

(“PO”). The Buffalo Police Department also has positions of Detective (“Det.”) and

Detective Sergeant (“Det. Sgt.”). In an attempt to avoid an unnecessary discovery dispute

and move this matter forward, the following individuals may be responsive to this


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demand (where multiple positions were held during the requested time period, each

position is identified):

STRIKE FORCE
      Lt. Michael Quinn. Hired on January 30, 1997. Retired on June 30, 2018.
      Lt. David Piech. Hired on February 4, 1994.
      Lt. George McLean. Hired on February 4, 1994. Retired on June 28, 2018.
      Lt. Ivan Watkins. Hired on March 1, 1998. Retired on June 29, 2018.
      Lt. Brian Strobele. Hired on August 6, 1986. Retired on November 30, 2017.
      Lt. David Wilcox. Hired on July 29, 1988. Retired on December 19, 2016.
      Lt. Thomas Whelan. Hired on January 31, 1995. Retired on September 24, 2018.
      Lt. Robbin Thomas. Hired on January 28, 1999.
      Lt. James C. O’Donnell. Hired on September 15, 1995.
      Lt. Marcus Rogowski. Hired on July 31, 2009.
      Lt. Daniel Burke. Hired July 29, 1988. Retired on May 23, 2015.
      PO/Lt. Scott Culver. Hired on January 13, 2012.
      PO/Lt. Bradford Pitts, II. Hired on January 16, 2009.
      PO/Lt. Robert Danner. Hired on January 13, 2012.
      PO/Det. Sgt. Amy Frankel. Hired on April 19, 2002.
      PO/Det. Jerry Guilian. Hired on July 30, 1994.
      PO/Det. Anthony Fanara. Hired on January 13, 2012.
      PO/Det. Michael J. Acquino. Hired on January 18, 2008.
      PO Robert Salamone. Hired on January 30, 1984.
      PO Richard Lopez. Hired on March 24, 1986.
      PO Joseph Walters. Hired on July 29, 1988.
      PO Michael Martinez. Hired on August 31, 1990. Retired on August 31, 2018.
      PO Joseph Chojnacki. Hired on August 5, 1994.
      PO Debra Strobele. Hired on October 2, 1989. Retired on March 31, 2018.
      PO Thomas Zak. Hired on November 19, 2007.
      PO Mark Hamilton. Hired on January 18, 2008.
      PO Christopher Fields. Hired on January 16, 2009.
      PO Richard Hy. Hired on January 13, 2012.
      PO Darren McDuffie. Hired on January 13, 2012.
      PO Adam Wigdorski. Hired on August 3, 2012.
      PO Aaron Pariseau. Hired on January 18, 2008.
      PO Robert Heidinger. Hired on July 23, 1998. Retired on September 29, 2018.
      PO Jonathan Bierl. Hired on August 1, 2008.
      PO Latasha Howard. Hired on November 18, 2008.
      PO Charles Miller. Hired on January 13, 2012.
      PO John Poisson. Hired on August 10, 1989. Retired on May 31, 2018.

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     PO Nathan Maryanski. Hired on January 13, 2012.
     PO Charles Skipper. Hired on January 6, 1998.
     PO Justin Tedesco. Hired on August 3, 2012.
     PO Sean Zoll. Hired on July 31, 2009.

HOUSING UNIT
     Capt. Guy Zagara. Hired on July 30, 1993. Retired on August 21, 2013.
     Capt. Patrick Roberts. Hired on March 1, 1988. Retired on June 29, 2015.
     Capt. Philip Serafini. Hired on August 27, 1986. Retired on December 31, 2018.
     Capt. Scott Testa. Hired on January 16, 1998.
     Lt. Lance R. Russo. Hired on September 15, 1995.
     Lt. Jeffrey M. Giallella. Hired on January 31, 1995.
     Lt. Brian Strobele. Hired on August 6, 1986. Retired on November 31, 2017.
     Lt. Joseph Lynch. Hired on July 29, 1988. Retired on December 31, 2018.
     PO/Det. Bart Adams. Hired on November 19, 2007.
     PO/Det. Michael J. Acquino. Hired on January 18, 2008.
     PO/Det. William Macy. Hired on January 18, 2008.
     PO/Det. Anthony Shea. Hired on August 1, 2008.
     PO Michael Bennett. Hired on February 4, 1994. Retired on June 31, 2017.
     PO Joseph Paolucci. Hired on September 19, 1995. Retired on June 30, 2010.
     PO Robert Joyce. Hired on August 4, 1991.
     PO Edmond Labby, Jr.. Hired on July 31, 1997. Retired on August 31, 2017.
     PO Donna Donovan. Hired on January 1, 1998.
     PO David Acosta. Hired on January 31, 1983. Retired on February 28, 2015
     PO Angelo Threats. Hired on January 26, 2000.
     PO Cory Krug. Hired on May 19, 1999.
     PO John Evans. Hired on January 25, 2001.
     PO Ann Devaney. Hired on May 18, 1997.
     PO Sherry Holtz. Hired on September 22, 1997.
     PO William Rezabek. Hired on January 18, 2008.
     PO Thomas Nunan. Hired on January 18, 2008.
     PO Adolphus Barkor. Hired on January 18, 2008.
     PO Jeanan Sharpe. Hired on January 18, 2008.
     PO Joseph Hassett. Hired on July 31, 2009.
     PO Shawn Adams. Hired on January 25, 2001.
     PO Donna Benitez. Hired on January 25, 2001. Retired October 26, 2018.
     PO Patrick Humiston. Hired on January 25, 2001.
     PO Kelvin Sharpe. Hired on August 1, 2008.
     PO Jonathan Bierl. Hired August 1, 2008.
     PO Kenneth Agee. Hired on August 1, 2008.
     PO Andre Lloyd. Hired on January 16, 2009.

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      PO Christopher Fields. Hired on January 16, 2009.
      PO Elizabeth Baker. Hired on August 1, 2008.
      PO John Lattanzio. Hired on January 18, 2008.
      PO Mark Hamilton. Hired on January 18, 2008.
      PO Jared Domaracki. Hired on January 18, 2008.
      PO John Poisson. Hired on August 10, 1989. Retired on May 31, 2018.
      PO Jerry Guilian. Hired on January 30, 1997.
      PO Latasha Howard. Hired on January 18, 2008.
      PO Anniel Vidal. Hired on January 13, 2012.
      PO William Robinson. Hired on January 18, 2008.
      PO Joshua Craig. Hired on January 13, 2012.
      PO Patrick Crowley. Hired on September 15, 1995. Retired on December 30,
       2017.
      PO Joseph Acquino. Hired on February 22, 2010.
      PO Charles Miller. Hired on January 13, 2012.
      PO Andrew Whiteford. Hired on January 13, 2012.
      PO Terrance Ciszek. Hired on January 17, 2014.
      PO Armonde Badger. Hired on July 31, 2015.
      PO Michael Norwood. Hired on January 18, 2013.
      PO Omar Rodriguez. Hired on July 30, 2009.
      PO Ryan Crespo. Hired on August 1, 2014.

All individuals identified are, or were, City of Buffalo employees. The City of Buffalo

maintains an office at 1100 City Hall, 65 Niagara Sq., Buffalo, New York 14202. Due to

the size of the time period, and scope of the request, there may be additional individuals

identified during discovery and the City will further supplement this response as needed.


       INTERROGATORY NO. 2: Identify each Person who signed a Traffic Safety

Checkpoint Tally Sheet or Buffalo Police Department Roadblock Directive.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant information not subject to disclosure in this civil action.




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      RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood, the City refers to the “Traffic Safety Checkpoint

Tally Sheet(s)” and “Buffalo Police Department Roadblock Directive(s)” provided in

response to “PLAINTIFFS’ FIRST REQUEST FOR THE PRODUCTION TO THE

DEFENDANT CITY OF BUFFALO” for its response to this interrogatory. As a further

response and good faith attempt to move discovery forward, upon information and

belief, the names of the individuals who signed the referenced documents include: Lt.

Michael Quinn, Lt. Brian Strobele, Lt. Lance R. Russo, Lt. Jeffrey M. Giallella, Lt. George

McLean, Lt. Ivan Watkins, Lt. David Wilcox, Lt. Thomas Whelan., Lt. James C. O’Donnell,

Lt. Marcus Rogowski, Lt. Daniel Burke, Lt. Stephen D. Schulz. All individuals are, or

were, City of Buffalo employees. The City of Buffalo maintains an office at 1100 City Hall,

65 Niagara Sq., Buffalo, New York 14202. Due to the size of the time period and number

of documents, there may be additional individuals identified during discovery and the

City will further supplement this response as needed.


      INTERROGATORY NO. 3: Identify each Person involved in the drafting and/or

approval of the directive on Checkpoints referenced in paragraph 38 of the Complaint

and your Answer.

      OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant information not subject to disclosure in this civil action.

The City also objects to the phrase “involved in the drafting and/or approval of the


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directive on Checkpoints referenced in paragraph 38 of the Complaint” as vague,

ambiguous and subject to multiple interpretations.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the interrogatory is understood based on prior communications with counsel for the

Plaintiff, which are incorporated herein by reference, the City is aware of the named

Defendants Daniel Derenda and Kevin Brinkworth, at this time. Both individuals were

City of Buffalo employees. The City of Buffalo maintains an office at 1100 City Hall, 65

Niagara Sq., Buffalo, New York 14202.


Dated: February 5, 2019
       Buffalo, New York

                                                 TIMOTHY A. BALL, ESQ.
                                                 Corporation Counsel


                                                 /s/Robert E. Quinn
                                                 By: Robert E. Quinn
                                                 65 Niagara Square - 1103 City Hall
                                                 Buffalo, NY 14202
                                                 Tel.: (716) 851-4326
                                                 rquinn@ch.ci.buffalo.ny.us


TO:     WESTERN NEW YORK LAW CENTER
        Attn.: Joseph Keleman, Keisha Williams
        37 Franklin Street, Second Floor
        Buffalo, New York 14202

        Claudia Wilner, Esq.
        NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
        275 Seventh Avenue, Suite 1506
        New York, NY 10001




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

      I, Robert E. Quinn, hereby certify that on February 5, 2019, the annexed document
was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: February 5, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.
                                                  FIRST SUPPLEMENTAL
              Plaintiffs,                    RESPONSES TO PLAINTIFFS’ FIRST
                                          SET OF REQUESTS FOR PRODUCTION
                     -vs-                  TO DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT CITY

OF BUFFALO, N.Y.” based on information available as of the date prescribed herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.

       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation
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or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.      The City objects to each of the requests to the extent that they seek to impose

upon Defendants any obligation beyond those imposed by the Federal Rules of Civil

Procedure. The City objects to each of the requests and to the preliminary statement,

definitions, and instructions that accompany them, to the extent that they are not

consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City object to these requests to the extent that they seek to impose

an obligation upon the defendant to collect an obtain information from any person or

entity that is not a party to this action.

       4.       The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time, scope

or subject, and call for unbounded discovery.

       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.



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       6.     The City objects to each of the document requests to the extent that they

seek information not in the possession of the Defendants or their agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these requests to the extent that they do not describe the

documents sought with reasonable particularity.

       12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.



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                     RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 1: All Documents and Communications relating to the creation

of the Strike Force, including but not limited to the reasons for or purposes of the

Strike Force’s creation, without limitation to time period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000940 and COB003907-COB003908,

on the enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 2: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the Strike Force, without limitation to time

period.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB000985-COB001347;



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COBCOB001613-COB001636, COB001962-COB003602, and COB003907-COB003908, on

the enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 3: All Documents and Communications relating to the creation

of the Housing Unit, including but not limited to the reasons for or purposes of the

Housing Unit’s creation, without limitation to time period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000940, COB003842-COB003850, and

COB003904-COB003905, on the enclosed compact disk, and will supplement this request

if and when additional documents or communications are located.


      REQUEST NO. 4: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the Housing Unit, without limitation to time

period.

      OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

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       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB001551-COB001613,

COB001637-COB001941, COB003842-COB003850, and COB003904-COB003905, on the

enclosed compact disk, and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 5: All Documents and Communications relating to the creation

of the Buffalo Traffic Violation Agency (BTVA) without limitation to time period,

including but not limited to the reasons for or purposes of the BTVA’s creation.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003877-COB003903 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 6: All Documents and Communications relating to the purpose,

mandate, goal, function, or mission of the BTVA, including but not limited to BTVA

annual reports, without limitation to time period.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003877-COB003903 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 7: All Documents and Communications relating to the BPD’s

decision to establish or conduct Checkpoints, without limitation to time period.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB001962-COB3602 on

the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 8: All Documents and Communications relating to the BPD’s

decision to end the Strike Force.

       OBJECTION: The City object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and




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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003906 on the enclosed compact disk and will

supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 9: All Documents and Communications consulted or reviewed

by the BPD in order to determine the physical location of each Checkpoint or group of

Checkpoints, including any Documents and Communications referring or relating to

strategy or other considerations in determining Checkpoint location.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB001962-COB3602 on

the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 10: All BPD Housing Unit Monthly and Weekly Statistics

Reports.




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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001551-COB001612 and COB001637-COB001941

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


       REQUEST NO. 11: All BPD Housing Unit Daily Reports, including but not

limited to Daily Statistical Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.


       REQUEST NO. 12: All BPD Strike Force Monthly and Weekly Statistics

Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

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privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.


       REQUEST NO. 13: All BPD Strike Force Unit Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.


       REQUEST NO. 14: All BPD Division of Traffic Enforcement Monthly and

Weekly Statistics Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents at this time.

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       REQUEST NO. 15: All BPD Division of Traffic Enforcement Daily Reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, and/or

subject to other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents at this time.


       REQUEST NO. 16: All Documents and Communications containing statistical,

demographic, or other information regarding the operation of Checkpoints by any part

of the BPD, to the extent not already responsive to Requests 10 through 15.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.




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      REQUEST NO. 17: All completed BPD Roadblock Directives.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001962-COB3602 on the enclosed compact disk

and will supplement this request if and when additional documents are located.


      REQUEST NO. 18: All completed Traffic Safety Checkpoint Tally Sheets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB001962-COB3602 on the enclosed compact disk

and will supplement this request if and when additional documents are located.


      REQUEST NO. 19: All other completed directives, tally sheets, and/or similar

Documents and Communications discussing the date, time, location, and/or results of




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Checkpoints carried out by the BPD, to the extent not already responsive to Requests

17 and 18.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 20: For each officer assigned to the Housing Unit, all activity

reports and other Documents and Communications completed by Housing Unit

Officers to record their enforcement activity (tickets, arrests, traffic stops) on a daily,

weekly, monthly, quarterly, and annual basis.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.




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      REQUEST NO. 21: For each officer assigned to the Strike Force, all activity

reports and other Documents and Communications completed by Strike Force Officers

to document their enforcement activity (tickets, arrests, traffic stops) on a daily,

weekly, monthly, quarterly, and annual basis.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 22: All Documents and Communications concerning the

procedures, information, and criteria used to evaluate the performance of Housing

Unit and Strike Force officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB003842-COB003876,

COB003904-COB003905, and COB003907-COB003908, on the enclosed compact disk, and




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will supplement this request if and when additional documents or communications are

located.


         REQUEST NO. 23: For each officer assigned to the Housing Unit and/or Strike

Force, copies of all monthly, quarterly and annual performance evaluations of that

officer conducted while he or she was assigned to the Housing Unit and/or Strike

Force.

         OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

         RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.


         REQUEST NO. 24: Electronic or computerized data compilations sufficient to

show for each Checkpoint conducted by the BPD:

               a.     The number of license plates checked, by an automated license

                      plate reader or otherwise, at the Checkpoint;

               b.     The unit or division within BPD that conducted the Checkpoint;

               c.     The date, time, duration and Location of the Checkpoint;




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        d.   The number of Persons selected for a secondary stop at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        e.   The number of Persons who received a Traffic Ticket at the

             Checkpoint, the number of tickets each such Person received, and

             the race, ethnicity, national origin, and any other demographic

             data recorded for each such Person;

        f.   The number of firearms confiscated at the Checkpoint and the

             race, ethnicity, national origin, and any other demographic data

             recorded for each such Person;

        g.   The number of Persons arrested for a traffic misdemeanor at the

             Checkpoint and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        h.   The number of Persons arrested for a non-traffic misdemeanor at

             the Checkpoint and the race, ethnicity, national origin, and any

             other demographic data recorded for each such Person;

        i.   The number of Persons arrested for a felony at the Checkpoint

             and the race, ethnicity, national origin, and any other

             demographic data recorded for each such Person;

        j.   The number of vehicles towed following a stop at the

             Checkpoint, the reason for towing the vehicle, and the race,




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                    ethnicity, national origin, and any other demographic data

                    recorded for the driver of each such vehicle;

             k.     The number of vehicles impounded following a stop at the

                    Checkpoint, the reason for impoundment, and the race, ethnicity,

                    national origin, and any other demographic data recorded for the

                    driver of each such vehicle;

             l.     The number of vehicles released from impound following a stop

                    at the Checkpoint and the race, ethnicity, national origin, and any

                    other demographic data recorded for each Person whose vehicle

                    was released following a stop at the Checkpoint; and

             m.     The number of vehicles auctioned following a stop at the

                    Checkpoint and the race, ethnicity, national origin, and any other

                    demographic data recorded for each Person whose vehicle was

                    auctioned following a stop at the Checkpoint.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.




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      REQUEST NO. 25: Electronic or computerized data compilations sufficient to

show for each and every Traffic Ticket issued and/or traffic-related arrest:

          a. The identity of the person(s) stopped, ticketed or arrested (names may

             be anonymized but stops, tickets, and arrests must be traceable at the

             individual level);

          b. The identity of the officer issuing the ticket or arrest (Name, Unit, and

             Badge Number);

          c. The date, time, and Location of the stop giving rise to the ticket or

             arrest;

          d. Whether the stop occurred at a Checkpoint;

          e. The race of the person(s) stopped, ticketed, or arrested;

          f. The gender of the person(s) stopped, ticketed, or arrested;

          g. The age of the person(s) stopped, ticketed, or arrested;

          h. All VTL and/or City of Buffalo Municipal Code violations for which the

             person was ticketed and/or arrested;

          i. All misdemeanor, traffic misdemeanor, and felony arrests made as a

             result of the stop, including the specific provision(s) forming the basis

             for the arrest;

          j. All weapons seized as a result of the stop, including the nature of the

             weapon;

          k. The total amount of cash seized as a result of the stop;




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      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

      RESPONSE: Without waiving any general or specific objections, the City is not

aware of any “electronic or computerized data compilations” responsive to this request.


      REQUEST NO. 26: Copies of all Traffic Tickets issued by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information which may be sealed and/or subject to confidentiality or other privacy

concerns.


      REQUEST NO. 27: All Documents and Communications relating to any reports,

notes, memoranda, files, data sets, databases, or other paper or electronic mechanisms

used by You to record, transmit, maintain, tabulate, aggregate, analyze, and/or review

information relating to any Checkpoint conducted by the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.




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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000985-COB001347 and COB0001962-COB003602

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 28: All Documents and Communications relating to any reports,

notes, memoranda, files, data sets, databases, or other paper or electronic mechanisms

used by You to record, transmit, maintain, tabulate, aggregate, analyze, and/or review

information relating to Traffic Tickets issued and/or misdemeanor and/or felony

traffic arrests made by BPD officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 29: All Documents and Communications showing the dates,

times, offense categories and Locations of all reported crimes in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.

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      REQUEST NO. 30: All Documents and Communications showing the dates,

times and Locations of all traffic accidents that occurred in the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, and which may be sealed, part of an ongoing investigations, sealed, subject to

other confidentiality concerns.


      REQUEST NO. 31: All Documents and Communications relating to the time

individuals waited during Checkpoints (“wait times”), average wait times, and/or or

other measures of individual or aggregate waiting times, for Persons driving through

a Checkpoint established by the Strike Force or Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 32: All Documents and Communications relating to the average

wait times, or other measures of individual or aggregate waiting times, for Persons



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pulled over for a secondary stop at a Checkpoint established by the Strike Force or

Housing Unit.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 33: All Documents and Communications relating to BPD’s use

of computer software and/or technology to issue traffic tickets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege and/or the law

enforcement privilege, or which is proprietary in nature.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003603-COB003638 and COB0004327-COB004336

on the enclosed compact disk and will supplement this request if and when additional

documents or communications are located.


      REQUEST NO. 34: All Documents and Communications relating to the

academic study by Andrew P. Wheeler and Scott W. Phillips referenced at paragraph

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56 and n.7 of the Complaint, including all communications, data, and Documents and

Communications shared with the study authors and/or their staff and interns.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 35: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to Checkpoints,

including but not limited to, deciding where and when to conduct a Checkpoint,

conducting initial and secondary stops, performing searches, issuing Traffic Tickets,

making misdemeanor and felony arrests, and/or towing or impounding cars at

Checkpoints.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.




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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000969, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk and

will supplement this request if and when additional documents or communications are

located.


      REQUEST NO. 36: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to enforcing the Vehicle

and Traffic Law, including but not limited to conducting traffic stops, performing

searches of vehicles, issuing Traffic Tickets, making misdemeanor and felony arrests

following traffic stops, and/or towing or impounding vehicles following traffic stops.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North




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Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 37: All Documents and Communications relating to BPD

policies, practices, directives, forms, guidelines, standards, rules, regulations, orders,

training materials or instructions relating to the use of Automatic License Plate

Readers and storage of ALPR data.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 38: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to compliance with the




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Fourth and Fourteenth Amendment of the United States Constitution, including the

rights to due process and equal protection.

      OBJECTION: The City objects to this request insofar as it is argumentative, overly

broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST      NO. 39: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to racial profiling,

biased policing, and/or the use of race in law enforcement decision-making.

      OBJECTION: The City objects to this request insofar as it is argumentative, overly

broad, burdensome, vague, is not likely to result in the production of admissible

evidence, and seeks information protected by the deliberative process privilege, and/or

the law enforcement privilege.



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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy

operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


      REQUEST NO. 40: All Documents and Communications relating to BPD

policies, procedures, protocols, directives, forms, guidelines, standards, rules,

regulations, orders, training materials or instructions relating to supervisory review of

the traffic enforcement activities, including, but not limited to, Checkpoints, traffic

stops, traffic tickets, and traffic misdemeanor arrests, conducted by BPD officers.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB000001-COB000984, COB000985-COB001347,

COB001962-COB003602, and COB003842-COB3850, on the enclosed compact disk as well

as those possibly in the possession of the Police Academy at the Police Training Academy



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operated by Erie County’s Central Police Services at Erie Community College North

Campus, which may be responsive to this request, and will supplement this request if

and when additional documents or communications are located.


        REQUEST NO. 41: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about any Checkpoint established by the Strike Force or Housing Unit.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 42: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

related to alleged racial profiling, bias or discrimination by the BPD.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,




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the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


       REQUEST NO. 43: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally on in writing

related to BPD traffic stops, traffic ticketing, and/or other traffic enforcement practices.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 44: All Documents and Communications relating to any

comments, complaints, grievances, or concerns You received verbally or in writing

about traffic safety, including but not limited to requests from the public for increased

traffic enforcement.

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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003639-COB003841 on the enclosed compact disk

and will supplement this request if and when additional documents or communications

are located.


       REQUEST NO. 45: All Documents and Communications relating to any

analysis, evaluation, review, recording, or study of Checkpoints, including the race,

ethnicity, national origin or other demographic data of individuals who drove through

and/or were stopped at Checkpoints and the extent to which such Checkpoints

enhanced or detracted from traffic safety.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.



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       REQUEST NO. 46: All Documents and Communications relating to the

September 18, 2018 report provided by the Buffalo Police Advisory Board to the

Buffalo Common Council Police Oversight Committee.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, and/or the law

enforcement privilege. The City also objects that the term “report” is vague, subject to

multiple meetings, and does not describe the documents sought with reasonable

particularity.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB003909--COB004326, on the enclosed compact

disk and will supplement this request if and when additional documents or

communications are located.


       REQUEST NO. 47: Documents and Communications sufficient to show all

federal financial assistance received by the Buffalo Police Department.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.




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       REQUEST NO. 48: All Documents and Communications concerning the

defenses asserted in Defendants’ Answer, including Documents and Communications

that support or refute the defenses.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.


       REQUEST NO. 49: All Documents identified in response to Plaintiff Black

Love Resists’ First Set of Interrogatories to Defendant City of Buffalo, N.Y.

       OBJECTION: The City objects to this request insofar as it is requests documents

not in the custody or control of the City.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is aware of the documents bates numbered

COB000001-COB004326, on the enclosed compact disk and will supplement this request

if and when additional documents or communications are located.

Dated: March 15, 2019
       Buffalo, New York
                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us

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TO:     NCLEJ
        Attn.: Claudia Wilner, Esq.
        275 Seventh Avenue, Suite 1506
        New York, NY 10001
        wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

      I, Robert E. Quinn, hereby certify that on March 15, 2018, the annexed document
was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: March 15, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.
                                                    SECOND SUPPLEMENTAL
              Plaintiffs,                          RESPONSES TO PLAINTIFFS’
                                               FIRST SET OF INTERROGATORIES TO
                     -vs-                       DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                                Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”), offers the following SECOND

SUPPLEMENTAL RESPONSE to Plaintiffs’ “FIRST SET OF INTERROGATORIES TO

DEFENDANT CITY OF BUFFALO, N.Y.”, incorporating by reference all prior responses

and objections thereto, based on information available as of the date prescribed herein:


                                GENERAL OBJECTIONS

       1.     The City responds to each and every interrogatory subject to the general

obligations set forth herein. These objections form a part of the response to each and every

interrogatory and are set forth here to avoid duplication by restating them for each

interrogatory and document request. These general objections may be specifically

referred to in response to a certain interrogatory and document request for purpose of

clarity. However, the failure to specifically refer to a general objection is not and shall

not be construed to be a waiver of any general objection, even if other general objections

are specifically stated in response to an interrogatory and document request.
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       2.     The City objects to each of the interrogatories to the extent that they seek

information and documents that seek materials prepared in anticipation of litigation or

are subject to the attorney-client privilege, attorney work product doctrine, deliberative

process privilege, law enforcement privilege, prosecutorial privilege, or any other

applicable privilege, including but not limited to those set forth by statutes such as the

New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86, the

New York Social Services Law, the Health Insurance Portability And Accountability Act

(HIPAA), and 18 NYCRR §357.1.

       3.   The City objects to each of the interrogatories to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The City objects to each of the interrogatories and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these interrogatories to the extent that they seek

to impose an obligation upon the defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.    The City objects to each of the interrogatories as being vague, ambiguous,

overly broad; unduly, burdensome, oppressive, unlimited in time, scope or subject, and

calling for unbounded discovery.




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       5.     The City objects to each of the interrogatories to the extent that they are not

reasonably calculated to lead to the discovery of admissible evidence or seek information

material and necessary to the prosecution or defense of this action.

       6.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of information

and/or documents provided hereby in any proceeding or trial of this or any other action.

       7.     The City objects to the interrogatories insofar as they are argumentative

and/or state or imply contested facts, circumstances, legal conclusions, and/or issues.

The City’s responses to these interrogatories shall not constitute any admission of any

fact, issue, and/or legal conclusion.

       8.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       9.     The City expressly reserves the right to amend, supplement and/or correct

the following interrogatory responses as appropriate.

       10.    The City expressly reserves, and does not waive their right to seek

appropriate relief pursuant to FRCP 26 and 33 and any other applicable law with respect

to these interrogatories.

       11.    The City objects to these interrogatories to the extent that they do not

describe the documents or information sought with reasonable particularity.



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      12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.


            SECOND SUPPLEMENTAL INTERROGATORY RESPONSES

      INTERROGATORY NO. 8: Describe in detail all training materials and

programs, both formal and informal, that You provided or provide to Your officers

concerning: the operation of Checkpoints; the enforcement of the New York Vehicle

and Traffic Law, including, but not limited to, the issuance of traffic violations or

infractions, misdemeanor or felony traffic arrests, and towing and/or impoundment of

vehicles; how to conduct Checkpoints and/or enforce traffic laws in compliance with

the Fourth and Fourteenth Amendments to the United States Constitution; racial

profiling, biased policing, and/or the use of race in law enforcement decision-making;

and the use of the electronic software and hardware referenced in response to

Interrogatory 5. This should include, but not be limited to, a description of the training

materials and programs, the dates on which they have been provided, the frequency

with which they are provided, the Persons who provide them, the Persons who receive

them, the Persons who decide their contents, any changes made to them over time,

including when those changes were made, and an identification of all Documents used

for any training.

      OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence, and seeks irrelevant, personal, and proprietary information not subject to



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disclosure in this civil action. The City also objects to the extent that the interrogatory is

vague, ambiguous and subject to multiple interpretations.

       RESPONSE: Without waiving any general or specific objections, and to the extent

that the Interrogatory is understood, the City responds as follows:

       Buffalo Police recruits generally complete a Basic Police Course training at Erie

County’s Central Police Services Training Academy, located at Erie Community College

North Campus, prior to performing regular police duties. Upon information and belief,

that Academy is operated by a Director, Erie County employee Edward Hempling, and

the courses are taught by full and part-time staff working under him. Staff includes law

enforcement officials, attorneys, and other public and private organizations, who may

provide training materials and programs as described in this Interrogatory.

       The Buffalo Police Academy, a unit within the Buffalo Police Department, also

provides training materials and programs to Buffalo Police Department Recruits and

Officers concerning departmental rules, regulations, and operations. After completion of

the Basic Police Course, formal training is generally provided by the Buffalo Police

Academy, in coordination and cooperation with other Buffalo Police Department

employees and units, to ensure that Department personnel are appropriately trained.

Training is generally based on the MOP, established police principles, monitoring and

oversight, trends in law enforcement, and relevant court decisions. The Buffalo Police

Academy is overseen by a Captain and has assigned staff, including Training Instructors,

who can administer in-service training and issue Departmental Training Bulletins, which

may include training materials and programs as described in this Interrogatory.

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       The Buffalo Police Department Commissioner and Deputy Commissioners

generally oversee the Department and its units, including the Buffalo Police Academy,

and can issue and approve General and Special Orders regarding departmental policies

and procedures, which may include information that generally or specifically relates to

the areas identified in this Interrogatory.

       Buffalo Police Recruits and Officers are provided with Rules and Regulations and

the Buffalo Police Department’s Manual of Procedures (“MOP”). The MOP may contain

information, including but not limited to that contained within Chapter 1: Organization,

Chapter 2: Aided and Accident Cases; Chapter 7: Traffic, Chapter 8: Patrol, and Chapter

15: Discipline and Discharge, as well as the sections, subsections, and selections,

contained in those chapters, which may relate to the areas of training described in this

Interrogatory.

       Buffalo Police Officers may also receive formal and informal training as described

in this interrogatory from other officers in their district, Commanding Officers,

supervising members of the Buffalo Police Department administration, and Field

Training Officers. This training can include general direction and instruction, monitoring

of an Officer’s performance, disciplinary and/or remedial training, and Roll Call Training

by Commanding Officers and shift supervisors to members of their command, all of

which may include training that generally or specifically relates to the areas identified in

this Interrogatory. Commanding Officers can also, at their discretion, issue other written

orders to their subordinates in the Department.



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      The Buffalo Police Department Roadblock and Traffic Safety Checkpoint Directive

forms, in addition to on site supervision and guidance at Traffic Safety Checkpoints, may

also include information responsive to this Interrogatory. This information includes, but

is not limited to, instruction on the purpose, location, and procedures, of conducting a

Traffic Safety Checkpoint.

      Buffalo Police Recruits and Officers may also receive formal and informal training

by Erie County Central Police Services and other outside individuals and organizations

which may also be responsive to this Interrogatory, including but not limited to training

on the use of New York State’s TraCS program.

      Formal and informal training on the areas identified in this Interrogatory may also

be provided on the job through interactions and observations with other police officers,

the regular experience and practice of law enforcement activities, as well as interactions

with prosecuting attorneys and the local Court System(s).


Dated: April 11, 2019
       Buffalo, New York

                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel


                                                /s/Robert E. Quinn
                                                By: Robert E. Quinn
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TO:   WESTERN NEW YORK LAW CENTER
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

      I, Robert E. Quinn, hereby certify that on February 5, 2019, the annexed document
was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: April 11, 2019
       Buffalo, New York

                                                 TIMOTHY A. BALL, ESQ.
                                                 Corporation Counsel


                                                 /s/Robert E. Quinn
                                                 By: Robert E. Quinn
                                                 65 Niagara Square - 1103 City Hall
                                                 Buffalo, NY 14202
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                   RESPONSES TO PLAINTIFFS’ SECOND
                                          SET OF REQUESTS FOR PRODUCTION TO
                     -vs-                   DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION TO DEFENDANT

CITY OF BUFFALO, N.Y.” based on information available as of the date prescribed

herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.
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       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation

or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.     The City objects to each of the requests to the extent that they seek to impose

upon Defendants any obligation beyond those imposed by the Federal Rules of Civil

Procedure. The City objects to each of the requests and to the preliminary statement,

definitions, and instructions that accompany them, to the extent that they are not

consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these requests to the extent that they seek to

impose an obligation upon the Defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.      The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time, scope

or subject, call for unbounded discovery, and/or do not describe the documents sought

with reasonable particularity.



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       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.

       6.     The City objects to each of the document requests to the extent that they

seek information not in the possession of the Defendants or their agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these document requests to the extent that they seek

information which is proprietary in nature.

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                     RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 50: All Documents and Communications relating to the schedule

of the fines and fees imposed by the City of Buffalo and/or the BTVA for violations of

(i) the New York State Vehicle and Traffic Law and (ii) Chapter 479 of the Code of the

City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB009523-COB009701 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 51: All Recommended and Adopted Budgets and Quarterly Gap

Statements for the City of Buffalo, including but not limited to Budgets and

Statements for the Buffalo Traffic Violations Agency, Buffalo Police Department,

Parking Enforcement Division, and Law Department.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges.



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      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB004337-COB008188 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 52: All Documents and Communications relating to any

modification or amendment to the City of Buffalo’s laws and ordinances concerning

traffic fees and fines since July 2013, including, but not limited to, amendments to

Chapter 175 of the Code of the City of Buffalo regarding fees charged by the BTVA.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB009536-COB009604 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 53: All Documents and Communications relating to the City of

Buffalo’s and/or the BTVA’s implementation, enforcement, and collection of any and

all fees referenced in Request 52 above.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and


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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “implementation, enforcement, and

collection of any and all fees referenced in Request 52 above” is vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


       REQUEST NO. 54: All Documents and Communications relating to the actual

administrative cost to the BTVA and/or the City of Buffalo of the following: (a)

allowing a defendant to defer payment; (b) processing a scofflaw/default judgment; (c)

processing a default conviction; (d) filing a judgment; (e) processing or responding to

a motion to vacate disposition.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrase “actual administrative cost to the BTVA and/or the City of Buffalo” is

vague, confusing, undefined, and potentially subject to multiple meanings and

interpretations.




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      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 55: All Documents and Communications, including drafts and

internal emails, relating to the preparation and development of the budgets for the

BPD, the BTVA, and any agencies having to do with the towing, impounding, and/or

auctioning of vehicles, including but not limited to the number of cars towed,

impounded, and/or auctioned on an annual basis for violations of the VTL and the

amount of revenue generated from such activities.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrases “budgets for the BPD, the BTVA, and any agencies having to do with

the towing impounding, and/or auctioning of vehicles” and “amount of revenue

generated from such activities” are vague, confusing, undefined, and potentially subject

to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB004337-COB008188 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.



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      REQUEST NO. 56: All Documents and Communications, including drafts and

internal emails, relating to the BPD budget, including but not limited to any

documents relating to or used in the compilation of or operation of “Work Program

Statistics” identified in each budget for the Division of Patrol Services and Division

of Traffic Services and any documents relating to how the BPD allocated and

disbursed its funds to various units, initiatives, and/or programs within the

Department.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “any documents relating to how the

BPD allocated and disbursed its funds to various units, initiatives and/or programs

within the Department” is vague, confusing, undefined, and potentially subject to

multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB004337-COB008188 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 57: All Documents and Communications with any member of

the BPD relating to the status of or any change in municipal revenue.



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       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “relating to the status of any change in

municipal revenue” is vague, confusing, undefined, and potentially subject to multiple

meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


       REQUEST NO. 58: All Documents and Communications relating to the amount

of revenue BPD officers generate from tickets, towing and impound of vehicles, or the

issuance of fines and fees related to traffic enforcement, including but not limited to

any internal emails.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “the amount of revenue BPD officers

generate from tickets, towing and impound of vehicles, or the issuance of fines and fees




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related to traffic enforcement” is vague, confusing, undefined, and potentially subject to

multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 59: All Documents and Communications, including contracts,

emails, performance evaluations, and financial reports, between the City and

independent contractors providing towing and impound services in connection with

violations of the Vehicle and Traffic law.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, Civil Rights Law §50-

a, the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges. The City specifically further objects in that the phrase “between the

City and independent contractors” is vague, confusing, undefined, and potentially

subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 60: All Documents and Communications concerning the amount

of money a BPD officer should collet or aim to collect and/or the number of tickets an

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officer should issue or attempt to issue during any period of time (e.g., work shift, day,

week, month, calendar quarter, etc.), including but not limited to any internal emails,

BPD forms or directives.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 61: All Documents and Communications, including drafts and

internal emails, relating to the BTVA budget.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB004337-COB008188 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.




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      REQUEST NO. 62: All Documents and Communications relating to the amount

of revenue the BTVA generates on a monthly, quarterly, and/or yearly basis, including

but not limited to revenue generated from traffic fines and fees and parking tickets.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrases “relating to the amount of revenue the BTVA generates” and “revenue

generated from traffic fines and fees and parking tickets” are vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections, e City is aware

of the reports previously provided as COB003877-COB003903 and the documents bates

numbered COB004337-COB008188 on the enclosed compact disk, which may be

responsive to this request, and will supplement this response if and when additional

documents or communications are located.


      REQUEST NO. 63: All Documents and Communications relating to the cost to

the City of Buffalo of operating the BTVA, including but not limited to any internal

emails.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client



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privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrase “cost to the City of Buffalo of operating the BTVA” is vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the reports previously provided as COB003877-COB003903 and the documents bates

numbered COB004337-COB008188 on the enclosed compact disk, which may be

responsive to this request, and will supplement this response if and when additional

documents or communications are located.


       REQUEST NO. 64: All Documents and Communications relating to the amount

the City of Buffalo spends on (a) any debt collection methods for unpaid traffic fines

and fees; and (b) how much revenue from traffic fines generates for the City of Buffalo.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrases “debt collection methods” and “how much revenue from traffic fines

generates for the City of Buffalo” are vague, confusing, undefined, and potentially subject

to multiple meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


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      REQUEST NO. 65: All Documents and Communications relating to (a) the

amount the City of Buffalo spends on towing, impounding, and auctioning vehicles

for violations of the VTL; and (b) how much revenue towing, impounding, and

auctioning vehicles for violations of the VTL generates for the City of Buffalo.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrase “how much revenue towing, impounding, and auctioning vehicles for

violations of the VTL generates for the City of Buffalo” is vague, confusing, undefined,

and potentially subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


      REQUEST NO. 66: All Documents and Communications related to the BTVA

annual reports, including but not limited to all reports not previously produced, draft

reports, all data summaries consulted or reviewed to create the reports, and any

internal emails concerning the preparation of the reports.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and




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seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is aware of the reports previously provided as

COB003877-COB003903, which may be responsive to this request, and will supplement

this response if and when additional documents or communications are located.


      REQUEST NO. 67: To the extent not already provided, all Documents and

Communications generated by or within the Office of the City of Buffalo Comptroller

that would be responsive to Requests 52-66 above.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrase “would be responsive to Requests 53-66 above” is vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB008189-COB009522 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 68: All Documents and Communications relating to the New

York State Attorney General office’s 2017 investigation into the BPD’s use of

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checkpoints and suspicionless trespass sweeps inside Buffalo Municipal Housing

Authority (BMHA)’s public housing complexes, including but not limited to

Defendants’ internal Documents and Communications referencing the investigation

as well as any documents produced by the City of Buffalo and/or the BPD to the

Attorney General’s office as a result of the investigation. The City specifically further

objects in that the phrase “relating to the New York State Attorney General office’s 2017

investigation into the BPD’s use of checkpoints and suspicionless trespass sweeps inside

Buffalo Municipal Housing Authority (BMHA)’s public housing complexes” is vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.


      REQUEST       NO. 69: All Documents and Communications relating to BPD

polices, practices, procedures, rules, regulations, guidelines, and/or training materials

contemplated or enacted as a result of the 2017 New York State Attorney General’s

Office Investigation.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The



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City specifically further objects in that the phrase “contemplated or enacted as a result of

the 2017 New York State Attorney General’s Office Investigation” is vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.


       REQUEST NO. 70: All Documents and Communications relating to the BTVA

and/or City of Buffalo’s processes for notifying the New York State Department of

Motor Vehicles to suspend the licenses of people who do not pay their tickets or fail

to appear at their traffic-related court appearances.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “process for notifying the New York

State Department of Motor Vehicles to suspend the licenses of people who do not pay

their tickets or fail to appear at their traffic-related court appearances” is vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB009523-COB009701 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


       REQUEST NO. 71: All Documents and Communications concerning the BTVA

and/or City of Buffalo’s debt collection practices for unpaid traffic fines, including but

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not limited to internal emails, forms, contracts, and communications with debt

collectors and law firms concerning the collection of unpaid traffic fines, default

judgments, etc..

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “debt collection practices” is vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB009523-COB009701 on the enclosed compact disk,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 72: All Documents and Communications relating to the

complaints regarding vehicle tows, impounds, and/or auctions, whether performed by

the City or an independent contractor, where the basis for the tow or impound was an

alleged violation of the VTL.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by Civil Rights Law §50-a, the deliberative process privilege,

the law enforcement privilege, the attorney-client privilege, and/or attorney work-



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product privileges. The City specifically further objects in that the phrase “where the

basis for the tow or impound was an alleged violation of the VTL” is vague, confusing,

undefined, and potentially subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.


      REQUEST NO. 73: All Documents and Communications from the electronic

BTVA database, Courtroom, or any other relevant database showing, for each case

adjudicated at the BTVA, (a) whether the defendant pled guilty, not guilty, or failed to

appear; (b) the outcome of the adjudication; (c) all fines, fees and default penalties

assessed; (d) whether the defendant paid the fines and fees; (e) the date and amount of

each payment; (f) all collection actions taken by the BTVA including docketing the

ticket as a default judgment and reporting nonpayment or nonappearance to the DMV;

(g) whether the default judgment was vacated or license reinstated.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, at this time, the City is not aware of any responsive

documents or communications at this time.



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Dated: May 19, 2019
      Buffalo, New York
                                            TIMOTHY A. BALL, ESQ.
                                            Corporation Counsel


                                            /s/Robert E. Quinn
                                            By: Robert E. Quinn
                                            65 Niagara Square - 1103 City Hall
                                            Buffalo, NY 14202
                                            Tel.: (716) 851-4326
                                            rquinn@ch.ci.buffalo.ny.us



TO:   NCLEJ
      Attn.: Claudia Wilner, Esq.
      275 Seventh Avenue, Suite 1506
      New York, NY 10001
      wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

       I, Robert E. Quinn, hereby certify that on May 19, 2019, the annexed document was
electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: May 19, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                        RESPONSES TO PLAINTIFFS’
                                            SECOND SET OF INTERROGATORIES TO
                     -vs-                     DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                                Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”), offers the following RESPONSES to

Plaintiffs’ “SECOND SET OF INTERROGATORIES TO DEFENDANT CITY OF

BUFFALO, N.Y.”, incorporating by reference all prior responses and objections thereto,

based on information available as of the date prescribed herein:


                                GENERAL OBJECTIONS

       1.     The City responds to each and every interrogatory subject to the general

obligations set forth herein. These objections form a part of the response to each and every

interrogatory and are set forth here to avoid duplication by restating them for each

interrogatory and document request. These general objections may be specifically

referred to in response to a certain interrogatory and document request for purpose of

clarity. However, the failure to specifically refer to a general objection is not and shall

not be construed to be a waiver of any general objection, even if other general objections

are specifically stated in response to an interrogatory and document request.
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       2.     The City objects to each of the interrogatories to the extent that they seek

information and documents that seek materials prepared in anticipation of litigation or

are subject to the attorney-client privilege, attorney work product doctrine, deliberative

process privilege, law enforcement privilege, prosecutorial privilege, or any other

applicable privilege, including but not limited to those set forth by statutes such as the

New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86, the

New York Social Services Law, the Health Insurance Portability And Accountability Act

(HIPAA), and 18 NYCRR §357.1.

       3.   The City objects to each of the interrogatories to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The City objects to each of the interrogatories and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these interrogatories to the extent that they seek

to impose an obligation upon the defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.    The City objects to each of the interrogatories as being vague, ambiguous,

overly broad; unduly, burdensome, oppressive, unlimited in time, scope or subject, and

calling for unbounded discovery.




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       5.     The City objects to each of the interrogatories to the extent that they are not

reasonably calculated to lead to the discovery of admissible evidence or seek information

material and necessary to the prosecution or defense of this action.

       6.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of information

and/or documents provided hereby in any proceeding or trial of this or any other action.

       7.     The City objects to the interrogatories insofar as they are argumentative

and/or state or imply contested facts, circumstances, legal conclusions, and/or issues.

The City’s responses to these interrogatories shall not constitute any admission of any

fact, issue, and/or legal conclusion.

       8.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       9.     The City expressly reserves the right to amend, supplement and/or correct

the following interrogatory responses as appropriate.

       10.    The City expressly reserves, and does not waive their right to seek

appropriate relief pursuant to FRCP 26 and 33 and any other applicable law with respect

to these interrogatories.

       11.    The City objects to these interrogatories to the extent that they do not

describe the documents or information sought with reasonable particularity.



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       12.    The City objects to these interrogatories to the extent that they seek

information which is proprietary in nature.


                           INTERROGATORY RESPONSES

       INTERROGATORY NO. 12: Identify each Person who has worked as part of the

BPD Traffic Unit and provide his or her Employment History at the BPD.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence. The City also objects to this interrogatory to the extent that the phrase “worked

as part of” is vague and ambiguous. The City additionally objects to this interrogatory in

that it seeks irrelevant, personal, and confidential information not subject to disclosure in

this civil action. The City specifically objects to the term “Employment History”, as its

defined the Plaintiffs’ Interrogatories as overly broad and potentially seeking information

and materials protected by Civil Rights Law §50-a.

       RESPONSE: Without waiving these objections, upon information and belief, in an

attempt to avoid an unnecessary discovery dispute and move this matter forward, the

following individuals may be responsive to this demand:

      Lt. Kenneth Agee. Hired August 1, 2008.
      PO Adolphus Barkur. Hired January 18, 2008.
      PO Oscar Barretto. Hired July 29, 1988. Retired December 26, 2018.
      Lt. Richard Bartoszewicz. Hired on January 26, 1989
      PO Michael Bass. Hired on February 4, 1994. Retired on July 31, 2018.
      PO Roberto Becerril. Hired on August 1, 2008.
      Lt. Richard Bonarek. Hired on August 6, 1986. Retired on December 29, 2018.
      PO Kevin Brautlacht. Hired on July 30, 1993.
      PO Christopher Calloway. Hired on March 1, 1988.
      PO Joseph Chojnacki. Hired on August 5, 1994.

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   Lt. David Ciepley. Hired on February 4, 1994.
   PO Jonathan Clemons. Hired on July 29, 1995.
   Capt. William Cusella. Hired on September 3, 1985.
   Lt. David Daniels. Hired on September 15, 1995.
   PO Ronnie Daniels. Hired on August 10, 1989.
   PO Robert Delaney. Hired on February 4, 1994.
   PO Michael Divito. Hired on August 6, 1996.
   PO Terence Dolan. Hired on March 4, 1994.
   PO Joseph Donovan. Hired on August 3, 2018.
   PO Michael Eason. Hired on August 16, 1982.
   PO Scott Escobar. Hired on February 2, 1987. Retired on July 31, 2018.
   PO John Evans. Hired on January 25, 2001.
   Lt. Darren Exum. Hired on January 26, 2000.
   PO Thomas Feeney. Hired on November 19, 2007.
   PO Eric Fuller. Hired on January 25, 2001.
   PO Antoinette Garbacz. Hired on September 15, 1995.
   Lt. Jeffrey Giallella. Hired on July 31, 1997.
   PO Raymond Harrington. Hired on January 16, 1998.
   PO Brandon Hawkins. Hired on January 18, 2008.
   PO John Kaska. Hired on August 6, 1996.
   PO Corey Krug. Hired on July 21, 2000.
   Lt. Robert Lee. Hired on August 6, 1996.
   Lt. Michael Long. Hired on July 31, 1997.
   PO John Lopez. Hired on August 30, 1991.
   PO Richard Lopez. Hired on March 24, 1986.
   Lt. Joseph Markowski. Hired on February 2, 1987. Retired on December 27, 2017.
   PO Michael Martinez. Hired on August 31, 1990. Retired on August 31, 2018.
   PO Dorian McKnight. Hired on March 4, 1994. Retired on December 26, 2018.
   PO Arthur McCabe. Hired on March 24, 1986. Retired on May 31, 2018.
   Lt. George McLean. Hired on February 4, 1994. Retired on July 28, 2018.
   Lt. Peter Nigrelli. Hired on July 31, 1997.
   PO David Obrien. Hired on January 25, 2001.
   PO Timothy O’Neill. Hired on July 29, 1995.
   PO Joseph Paolucci. Hired on September 19, 1995.
   Lt. David Piech. Hired on February 4, 1994.
   PO John Poisson. Hired on August 10, 1989. Retired on May 31, 2018.
   PO Anthony Porzio. Hired on March 1, 1988. Retired on June 29, 2018.
   Lt. Michael Quinn. Hired on January 30, 1997. Retired on June 30, 2018.
   PO Karen Quinn-Higgins. Hired on September 15, 1995.
   PO Jose Rivera. Hired on November 4, 2016.
   PO David Rodriguez. Hired on July 30, 1993.


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      Lt. Aaron Salter. Hired on January 26, 1989. Retired on August 31, 2018.
      PO John Simonian. Hired on March 1, 1988.
      PO Charles Skipper. Hired on January 16, 1998.
      PO Mark Slawek. Hired on August 30, 1991.
      PO Paul Sobkowiak. Hired on July 23, 1998.
      PO Debra Strobele. Hired on September 15, 1995. Retired on March 31, 2018.
      PO Thomas Stroehlein. Hired on August 30, 1991.
      Lt. Micheal Sullivan. Hired on January 25, 2001.
      PO Mark Testa. Hired on August 27, 1986. Retired on December 28, 2018.
      PO Edwin Torres. Hired on February 2, 1987. Retired on December 27, 2018.
      PO Timothy Wagner. Hired on January 25, 2001.
      Lt. Michael Walker. Hired on January 18, 2008.
      PO Joseph Walters. Hired on July 29, 1988.
      PO Kristin Weeks Russo. Hired on July 23, 1998.
      PO Joseph Wendel. Hired on January 18, 2008.
      PO Cleveland Wilson. Hired on January 30, 1997.
      PO David Wojtasik. Hired on January 18, 2008.
      PO Ernest Wright. Hired on August 27, 1986.
      PO Thomas Zak. Hired on November 19, 2007.

All individuals identified are, or were, City of Buffalo employees. The City of Buffalo

maintains an office at 1100 City Hall, 65 Niagara Sq., Buffalo, New York 14202. Due to

the size of the time period, and scope of the request, there may be additional individuals

identified during discovery and the City will further supplement this response as needed.


       INTERROGATORY NO. 13: Identify each Person who has worked as part of

the BPD Crime Analyst and provide his or her Employment History at the BPD.

       OBJECTION: The City objects to this interrogatory to the extent that it is overly

broad, unduly burdensome, is not likely to result in the production of admissible

evidence. The City also objects to this interrogatory to the extent that the phrases

“worked as part of” and “BPD Crime Analyst” as vague and ambiguous. The City

additionally objects to this interrogatory in that it seeks irrelevant, personal, and


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confidential information not subject to disclosure in this civil action. The City specifically

objects to the term “Employment History”, as its defined the Plaintiffs’ Interrogatories as

overly broad.

       RESPONSE: Without waiving these objections, upon information and belief, in an

attempt to avoid an unnecessary discovery dispute and move this matter forward, the

following individuals may be responsive to this demand:

          Kathleen Marciano. Hired on August January 10, 1983. Retired on January 30,
           2016.
          Tracy Masiello. Hired on July 14, 2008.


Dated: September 12, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
                                                  rquinn@ch.ci.buffalo.ny.us


TO:    WESTERN NEW YORK LAW CENTER
       Attn.: Joseph Keleman, Keisha Williams
       37 Franklin Street, Second Floor
       Buffalo, New York 14202

       Claudia Wilner, Esq.
       NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
       275 Seventh Avenue, Suite 1506
       New York, NY 10001



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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

     I, Robert E. Quinn, hereby certify that on September 12, 2019, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: September 12, 2019
       Buffalo, New York

                                                 TIMOTHY A. BALL, ESQ.
                                                 Corporation Counsel


                                                 /s/Robert E. Quinn
                                                 By: Robert E. Quinn
                                                 65 Niagara Square - 1103 City Hall
                                                 Buffalo, NY 14202
                                                 Tel.: (716) 851-4326
                                                 rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                   RESPONSES TO PLAINTIFFS’ THIRD
                                          SET OF REQUESTS FOR PRODUCTION TO
                     -vs-                   DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ AMENDED THIRD SET OF REQUESTS FOR PRODUCTION TO

DEFENDANT CITY OF BUFFALO, N.Y.” based on information available as of the date

prescribed herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.
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       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation

or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.     The City objects to each of the requests to the extent that they seek to impose

upon Defendants any obligation beyond those imposed by the Federal Rules of Civil

Procedure. The City objects to each of the requests and to the preliminary statement,

definitions, and instructions that accompany them, to the extent that they are not

consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these requests to the extent that they seek to

impose an obligation upon the Defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.      The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time, scope

or subject, call for unbounded discovery, and/or do not describe the documents sought

with reasonable particularity.



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       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.

       6.     The City objects to each of the document requests to the extent that they

seek information not in the possession of the Defendants or their agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these document requests to the extent that they seek

information which is proprietary in nature.

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                     RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 74: All documents, including but not limited to Special Orders,

from January 2011 to the present relating to transfers of BPD officers to the Strike

Force, Housing Unit, and Traffic Unit of the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB009967-COB010000 which have previously been

provided, and the documents bates number COB010001-COB010008 provided herewith,

which may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 75: All documents, including but not limited to Special Orders,

from February and March 2018 relating to transfers of BPD officers from the Strike

Force to other Units of the BPD.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the previously provided document bates numbered COB009993, which may be

responsive to this request, and will supplement this response if and when additional

documents or communications are located.




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       REQUEST NO. 76: All documents and communications from 2011 to the present

between the City and/or the BPD and the United States Department of Justice relating

to the BPD, including but not limited to grant applications and grant reports.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges.


       REQUEST NO. 77: All documents and communications from or to all BPD

Crime Analysts relating to the relationship, if any, between traffic enforcement and

crime rates.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

City specifically further objects in that the phrase “from or to all BPD Crime Analysts

relating to the relationship, if any, between traffic enforcement and crime rates” is vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

       RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.




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         REQUEST NO. 78: All documents and communications from or to all BPD

Crime Analysts relating to the relationship, if any, between checkpoints and crime

rates.

         OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The City specifically further objects

in that the phrase “from or to all BPD Crime Analysts relating to the relationship, if any,

between checkpoints and crime rates” is vague, confusing, undefined, and potentially

subject to multiple meanings and interpretations.

         RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents or

communications at this time.


         REQUEST NO. 79: All documents concerning citizen complaints received,

reviewed, and/or investigated by the City of Buffalo Commission on Citizens’ Rights

and Community Relations concerning:

               (a)    racial, ethnic, and/or national origin discrimination by BPD and/or

                      BPD personnel;

               (b)    BPD Checkpoints;

               (c)    BPD traffic stops and/or other BPD traffic enforcement practices;

               (d)    traffic tickets, fines, and fees; and

               (e)    the BTVA

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        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 80: All documents concerning and/or reflecting communications

between the Commission on Citizens’ Rights and Community Relations and the BPD

concerning the complaints referenced in Request for Production No. 79.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 81: All documents relating to policies, procedures, protocols,

directives, guidelines, standards, rules, regulations, orders, forms, and/or instructions

concerning    the   filing,   receiving,   processing,   tracking,    transmittal,   sharing,

investigation, and resolution of the complaints referenced in Request for Production

No. 79.




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        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 82: All documents relating to policies, procedures, protocols,

directives, guidelines, standards, rules, regulations, orders, forms, and/or instructions

concerning the communications referenced in Request for Production No. 80.

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 83: All documents relating to assessments, evaluations,

investigations, reviews, reports, and/or recommendations conducted and/or issued by

the Commission on Citizens’ Rights and Community Relations concerning:

              (a)    incidents and/or patterns of racial, ethnic and/or national original

                     discrimination by the BPD and/or BPD personnel;

              (b)    Checkpoints

              (c)    BPD traffic stops and/or other traffic enforcement practices;

              (d)    traffic tickets, fines and fees;


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              (e)    the BTVA;

              (f)    BPD training programs in community relations and respect for

                     citizens’ rights; and

              (g)    BPD standards and procedures for investigating, acting upon, and

                     resolving police misconduct complaints

        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, Civil Rights Law §50-

a, the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges. The City specifically further objects in that the phrase “assessments,

evaluations, investigations, reviews, reports, and/or recommendations conducted

and/or issued by the Commission on Citizens’ Rights and Community Relations” is

vague, confusing, undefined, and potentially subject to multiple meanings and

interpretations.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


        REQUEST NO. 84: All documents concerning or reflecting the agendas and/or

minutes of meetings of the Commission on Citizens’ Rights and Community Relations

at which any of the topics set forth in Request for Production Nos. 83 (a)-(g) were

discussed.



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        OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


Dated: September 25, 2019
      Buffalo, New York
                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel


                                                /s/Robert E. Quinn
                                                By: Robert E. Quinn
                                                65 Niagara Square - 1103 City Hall
                                                Buffalo, NY 14202
                                                Tel.: (716) 851-4326
                                                rquinn@ch.ci.buffalo.ny.us



TO:     NCLEJ
        Attn.: Claudia Wilner, Esq.
        275 Seventh Avenue, Suite 1506
        New York, NY 10001
        wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

     I, Robert E. Quinn, hereby certify that on September 25, 2019, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: September 25, 2019
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


                                                  /s/Robert E. Quinn
                                                  By: Robert E. Quinn
                                                  65 Niagara Square - 1103 City Hall
                                                  Buffalo, NY 14202
                                                  Tel.: (716) 851-4326
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.
                                                  FIRST SUPPLEMENTAL
              Plaintiffs,                   RESPONSES TO PLAINTIFFS’ THIRD
                                          SET OF REQUESTS FOR PRODUCTION TO
                     -vs-                   DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendant, CITY OF BUFFALO (“City”) offer the following in response to

“PLAINTIFFS’ AMENDED THIRD SET OF REQUESTS FOR PRODUCTION TO

DEFENDANT CITY OF BUFFALO, N.Y.” based on information available as of the date

prescribed herein.


                                GENERAL OBJECTIONS

       1.      The City responds to each and every document request subject to the

general objections set forth herein. These objections form a part of the response to

each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.
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       2.     The City objects to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation

or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.     The City objects to each of the requests to the extent that they seek to impose

upon Defendants any obligation beyond those imposed by the Federal Rules of Civil

Procedure. The City objects to each of the requests and to the preliminary statement,

definitions, and instructions that accompany them, to the extent that they are not

consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The City objects to these requests to the extent that they seek to

impose an obligation upon the Defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.      The City objects to each of the document requests to the extent they are

vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time, scope

or subject, call for unbounded discovery, and/or do not describe the documents sought

with reasonable particularity.



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       5.      The City objects to each of the document requests to the extent that they

are not reasonably calculated to lead to the discovery of admissible evidence or seek

information material and necessary to the prosecution or defense of this action.

       6.     The City objects to each of the document requests to the extent that they

seek information not in the possession of the Defendants or their agents/employees.

       7.     The City reserves the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.      The City objects to the document requests insofar as they state or imply

contested facts, circumstances, legal conclusions, issues, events or circumstances. The

City’s responses to these document requests shall not constitute any admission of any

fact, event, circumstance, issue, or legal conclusion.

       9.     The City objects to any requests for original evidence, records, documents,

and things; the City will not release original evidence or things to any party for discovery

purposes but will provide a reasonable opportunity for appropriate viewing in the

presence of all parties.

       10.    The City expressly reserves the right to amend and supplement the

following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The City objects to these document requests to the extent that they seek

information which is proprietary in nature.

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        FIRST SUPPLEMENTAL RESPONSES TO DOCUMENT REQUESTS

      REQUEST NO. 79: All documents concerning citizen complaints received,

reviewed, and/or investigated by the City of Buffalo Commission on Citizens’ Rights

and Community Relations concerning:

             (a)    racial, ethnic, and/or national origin discrimination by BPD and/or

                    BPD personnel;

             (b)    BPD Checkpoints;

             (c)    BPD traffic stops and/or other BPD traffic enforcement practices;

             (d)    traffic tickets, fines, and fees; and

             (e)    the BTVA

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 80: All documents concerning and/or reflecting communications

between the Commission on Citizens’ Rights and Community Relations and the BPD

concerning the complaints referenced in Request for Production No. 79.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and



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seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 81: All documents relating to policies, procedures, protocols,

directives, guidelines, standards, rules, regulations, orders, forms, and/or instructions

concerning   the   filing,   receiving,   processing,   tracking,    transmittal,   sharing,

investigation, and resolution of the complaints referenced in Request for Production

No. 79.

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 82: All documents relating to policies, procedures, protocols,

directives, guidelines, standards, rules, regulations, orders, forms, and/or instructions

concerning the communications referenced in Request for Production No. 80.




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      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

      RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


      REQUEST NO. 83: All documents relating to assessments, evaluations,

investigations, reviews, reports, and/or recommendations conducted and/or issued by

the Commission on Citizens’ Rights and Community Relations concerning:

             (a)    incidents and/or patterns of racial, ethnic and/or national original

                    discrimination by the BPD and/or BPD personnel;

             (b)    Checkpoints

             (c)    BPD traffic stops and/or other traffic enforcement practices;

             (d)    traffic tickets, fines and fees;

             (e)    the BTVA;

             (f)    BPD training programs in community relations and respect for

                    citizens’ rights; and

             (g)    BPD standards and procedures for investigating, acting upon, and

                    resolving police misconduct complaints

      OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, Civil Rights Law §50-

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a, the law enforcement privilege, the attorney-client privilege, and/or attorney work-

product privileges. The City specifically further objects in that the phrase “assessments,

evaluations, investigations, reviews, reports, and/or recommendations conducted

and/or issued by the Commission on Citizens’ Rights and Community Relations” is

vague, confusing, undefined, and potentially subject to multiple meanings and

interpretations.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.


       REQUEST NO. 84: All documents concerning or reflecting the agendas and/or

minutes of meetings of the Commission on Citizens’ Rights and Community Relations

at which any of the topics set forth in Request for Production Nos. 83 (a)-(g) were

discussed.

       OBJECTION: The City objects to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

       RESPONSE: Without waiving any general or specific objections, the City is aware

of the documents bates numbered COB010009-COB010043 provided herewith, which

may be responsive to this request, and will supplement this response if and when

additional documents or communications are located.




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Dated: December 13, 2019
      Buffalo, New York
                                           TIMOTHY A. BALL, ESQ.
                                           Corporation Counsel


                                           /s/Robert E. Quinn
                                           By: Robert E. Quinn
                                           65 Niagara Square - 1103 City Hall
                                           Buffalo, NY 14202
                                           Tel.: (716) 851-4326
                                           rquinn@ch.ci.buffalo.ny.us



TO:   NCLEJ
      Attn.: Claudia Wilner, Esq.
      275 Seventh Avenue, Suite 1506
      New York, NY 10001
      wilner@nclej.org




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

     I, Robert E. Quinn, hereby certify that on December 13, 2019, the annexed
document was electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
                    275 Seventh Avenue, Suite 1506
                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: December 13, 2019
       Buffalo, New York

                                                 TIMOTHY A. BALL, ESQ.
                                                 Corporation Counsel


                                                 /s/Robert E. Quinn
                                                 By: Robert E. Quinn
                                                 65 Niagara Square - 1103 City Hall
                                                 Buffalo, NY 14202
                                                 Tel.: (716) 851-4326
                                                 rquinn@ch.ci.buffalo.ny.us




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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,                   RESPONSES TO PLAINTIFFS’ FOURTH
                                          SET OF REQUESTS FOR PRODUCTION TO
                     -vs-                   DEFENDANT CITY OF BUFFALO, N.Y.

CITY OF BUFFALO, et al.                              Civil Action No.: 18-cv-719

            Defendants.
____________________________________________

       Defendants (“Defendants”) offer the following in response to “PLAINTIFFS’

FOURTH SET OF REQUESTS FOR PRODUCTION TO DEFENDANTS” based on

information available as of the date prescribed herein.


                                GENERAL OBJECTIONS

       1.     The Defendants respond to each and every document request subject to

the general objections set forth herein. These objections form a part of the response

to each and every document request and are set forth herein to avoid duplication by

restating them for each document request. These general objections may be specifically

referred to in response to a certain document request for the purpose of clarity. However,

the failure specifically to refer to a general objection is not and shall not be construed to

be a waiver of any general objection, even if other general objections are specifically

stated in response to a document request.

       2.     The Defendants object to each of the requests to the extent that they seek

information and documents that they seek materials prepared in anticipation of litigation
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or are subject to the attorney-client privilege, attorney work product doctrine,

deliberative process privilege, law enforcement privilege, prosecutorial privilege, or any

other applicable privilege, including but not limited to those set forth by statutes such as

the New York State Civil Rights Law §§50-a and 50-b, New York Public Officers Law §86,

the New York Social Services Law, the Health Insurance Portability And Accountability

Act (HIPAA), and 18 NYCRR §357.1.

       3.     The Defendants object to each of the requests to the extent that they seek to

impose upon Defendants any obligation beyond those imposed by the Federal Rules of

Civil Procedure. The Defendants object to each of the requests and to the preliminary

statement, definitions, and instructions that accompany them, to the extent that they are

not consistent with the Federal Rules of Civil Procedure and/or the Local Rules of Civil

Procedure and/or attempt to impose requirements greater than those imposed by each

or all of those rules. The Defendants object to these requests to the extent that they seek

to impose an obligation upon the Defendant to collect an obtain information from any

person or entity that is not a party to this action.

       4.      The Defendants object to each of the document requests to the extent they

are vague, ambiguous, overbroad, unduly burdensome, oppressive, unlimited in time,

scope or subject, call for unbounded discovery, and/or do not describe the documents

sought with reasonable particularity.

       5.      The Defendants object to each of the document requests to the extent that

they are not reasonably calculated to lead to the discovery of admissible evidence or

seek information material and necessary to the prosecution or defense of this action.

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       6.     The Defendants object to each of the document requests to the extent that

they seek information not in the possession of the Defendants or their agents/employees.

       7.     The Defendants reserve the right to challenge the competency, relevance,

materiality and admissibility of, and to object on any grounds to, the use of the

information and/or documents provided hereby in any proceeding or trial of this or

any other action.

       8.     The Defendants object to the document requests insofar as they state or

imply contested facts, circumstances, legal conclusions, issues, events or circumstances.

The Defendants’ responses to these document requests shall not constitute any admission

of any fact, event, circumstance, issue, or legal conclusion.

       9.     The Defendants object to any requests for original evidence, records,

documents, and things; the Defendants will not release original evidence or things to any

party for discovery purposes but will provide a reasonable opportunity for appropriate

viewing in the presence of all parties.

       10.    The Defendants expressly reserve the right to amend and supplement

the following responses and document requests with respect to additional information,

material, and documents supplied or obtained in the course of discovery herein.

       11.    The Defendants object to these document requests to the extent that they

seek information which is proprietary in nature.




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                     RESPONSES TO DOCUMENT REQUESTS

       REQUEST NO. 85: Documents concerning and racial and ethnic bias training

conducted by the City and/or BPD in connection with any Federal Grants including

copies of training materials, attendance sheets, metrics, and/or reports submitted to the

DOJ.

       OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The Defendants also object to the

extent that the demand seeks information beyond that allowed for in a request for

production and is more akin to an interrogatory.


       REQUEST NO. 86: Documents sufficient to identify any and all areas that have

been designated Hot Spots by Defendants, including exact location information and

the dates that such designations applied.

       OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The Defendants also object to the

extent that the demand seeks information beyond that allowed for in a request for

production and is more akin to an interrogatory.




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      REQUEST NO. 87: Documents concerning any Crackdown and High Visibility

Interventions conducted by the City and/or the BPD, including the date, time, and

location of any such intervention.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The Defendants also object to the

extent that the demand seeks information beyond that allowed for in a request for

production and is more akin to an interrogatory.


      REQUEST NO. 88: Copies of any crime data, hot spot mapping, daily reports,

trends and pattern data concerning the City generated by the Erie Crime Analysis

Center.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the Defendants are not aware of any responsive

documents or communications at this time.




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      REQUEST NO. 89: Copies of any directives issued by Defendants concerning

the towing and impound of vehicles, or the issuance of fines and fees related to

parking, traffic enforcement, and VLT violations.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the attorney-client

privilege, and/or attorney work-product privileges. The Defendants specifically further

objects in that the term “directives” is vague, confusing, undefined, and potentially

subject to multiple meanings and interpretations.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the Defendants are not aware of any responsive

documents or communications at this time.


      REQUEST NO. 90: Documents describing any and all activities conducted by

the City and/or BPD pursuant to a Federal Grant, including copies of any reports

submitted in conjunction with JAG Grants and Project Safe Neighborhood Grants.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

Defendants also object to the extent that the demand seeks information beyond that

allowed for in a request for production and is more akin to an interrogatory.



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      REQUEST NO. 91: Electronic compilations of data on all citations issued by the

BPD for violations of the VTL to any automobile that, at the time of issuance of the

citation, was parked, unoccupied, or not being operated, including the date time,

location, nature of the VLT violation and amount of each citation.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, is not likely to result in the production of admissible evidence, and

seeks information protected by the deliberative process privilege, the law enforcement

privilege, the attorney-client privilege, and/or attorney work-product privileges. The

Defendants specifically further objects in that the phrase and terms “at the time of

issuance of the citation, was parked, unoccupied, or not being operated” is vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

The Defendants also object to the extent that the demand seeks information beyond that

allowed for in a request for production and is more akin to an interrogatory.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the Defendants are not aware of any responsive

documents at this time.


      REQUEST NO. 92: Copies of all citations for violations of the VTL issued by

the BPD to automobiles that, at the time of ticketing, were parked in lots owned,

operated, or maintained by the BMHA.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.



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The Defendants specifically further objects in that the phrases and terms “copies of all

citations” and “parked in lots owned, operated, or maintained by the BMHA” are vague,

confusing, undefined, and potentially subject to multiple meanings and interpretations.

The Defendants also object to the extent that the demand seeks information beyond that

allowed for in a request for production and is more akin to an interrogatory.

      RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the Defendants are not aware of any responsive

documents at this time.


      REQUEST NO. 93: Documents concerning the BPVA’s adjudication of tickets

or citations of the VLT issued by the BPD to automobiles that, at the time of the

ticketing, were parked in lots owned operated, or maintained by the BMHA.

      OBJECTION: The Defendants object to this request insofar as it is overly broad,

burdensome, vague, and is not likely to result in the production of admissible evidence.

The Defendants specifically further object in that the phrases and terms “concerning the

BPVA’s adjudication of tickets or citations” and “parked in lots owned, operated, or

maintained by the BMHA” is vague, confusing, undefined, and potentially subject to

multiple meanings and interpretations. The Defendants also object to the extent that the

demand seeks information beyond that allowed for in a request for production and is

more akin to an interrogatory.




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        RESPONSE: Without waiving any general or specific objections and to the extent

that the request is understood, the City is not aware of any responsive documents at this

time.


Dated: June 11, 2020
      Buffalo, New York
                                                TIMOTHY A. BALL, ESQ.
                                                Corporation Counsel


                                                /s/Robert E. Quinn
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

BLACK LOVE RESISTS IN THE RUST, et al.

              Plaintiffs,
                                                   CERTIFICATE OF SERVICE
                     -vs-
                                                    Civil Action No.: 18-cv-719
CITY OF BUFFALO, et al.

            Defendants.
____________________________________________

       I, Robert E. Quinn, hereby certify that on June 11, 2020, the annexed document was
electronically served on Counsel for the Plaintiffs in this case:

                         Claudia Wilner, Esq.
          NATIONAL CENTER FOR LAW AND ECONOMIC JUSTICE
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                         New York, NY 10001
                           wilner@nclej.org

I certify under penalty of perjury that the foregoing is true and correct.

Dated: June 11, 2020
       Buffalo, New York

                                                  TIMOTHY A. BALL, ESQ.
                                                  Corporation Counsel


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